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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


                                              )
  IN RE: JOHNSON & JOHNSON                    )
  TALCUM POWDER PRODUCTS                      )
  MARKETING, SALES PRACTICES AND              )    MDL Docket No. 2738
  PRODUCTS LIABILITY LITIGATION               )
                                              )
                                              )
  This Document Relates To All Cases          )
                                              )




     DEFENDANTS JOHNSON & JOHNSON AND JOHNSON & JOHNSON
          CONSUMER INC.’S POST-DAUBERT HEARING BRIEF


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                                     INTRODUCTION
           The five experts plaintiffs chose to testify at the Court’s Daubert hearing

  were presumably the ones they believed would provide the strongest evidence in

  support of plaintiffs’ general causation theories. Instead, the testimony of these

  experts highlighted all the reasons why their opinions are unreliable, including,

  most notably, that they are advancing outlier opinions that contradict the consensus

  of the scientific and medical communities; that they analyzed the epidemiological

  evidence in a results-oriented manner that is contrary to well-established

  epidemiological practices; that their biological plausibility opinions are based, at

  best, on speculative hypotheses; and that they abandoned fundamental scientific

  principles and methods in the service of advancing plaintiffs’ litigation positions.

  The hearing thus reinforced defendants’ Daubert briefing, confirming that all of

  plaintiffs’ experts’ general causation opinions should be excluded by the Court.

           First, the hearing demonstrated that the theory that perineal talc use causes

  ovarian cancer is not generally accepted. As Dr. Clarke-Pearson acknowledged, no

  professional organization or regulator – not even Health Canada, on which

  plaintiffs place such great weight – has concluded that the scientific evidence

  demonstrates causation. Indeed, the very sources on which plaintiffs’ experts rely

  disclaim a causal finding and/or indicate that further study is required.

           Second, the hearing also highlighted that the “methods” plaintiffs’ experts


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adopted to defy this consensus were unscientific and unreliable. With respect to

epidemiology, for example, plaintiffs’ experts purported to apply the Bradford Hill

criteria but did so in a highly unscientific manner, as the hearing further revealed.

Although they described the objectively weak association between perineal talc use

and ovarian cancer as “strong” in their reports, the experts essentially abandoned

that position at the hearing. Dr. Carson expressly acknowledged that such an

association would generally be regarded as “weak” or “modest,” while other

experts tried to avoid dwelling on strength because they could not credibly say that

the association is strong. As to consistency, two of plaintiffs’ experts (Drs. Clarke-

Pearson and Carson) admitted that they dismissed an entire body of studies in

reaching their opinions, while a third (Dr. McTiernan) endorsed a radical change in

how epidemiologists assess studies in order to justify her consistency opinion.

Plaintiffs’ experts’ opinions regarding dose response are similarly unscientific;

indeed, they had to admit at the hearing that the very studies on which they rely did

not conclude that a dose response has been identified.

         Third, the hearing also highlighted that plaintiffs’ experts’ biological

plausibility theories are speculative and unsupported. Dr. Longo’s testimony,

offered by plaintiffs to support their theory that the presence of asbestos

demonstrates biological plausibility, confirmed that his methodology for

supposedly detecting asbestos is unfixed, results-oriented and non-replicable. Dr.


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Longo also admitted that he did not undertake any exposure analysis, a gaping hole

in his analysis given defense toxicology expert Dr. Moore’s showing that exposure

to concentrations of asbestos that Dr. Longo claimed to find in talc would be

exponentially lower than OSHA’s permissible exposure limit (“PEL”).

         Plaintiffs’ other biological plausibility theories did not fare any better. Dr.

Carson’s testimony regarding heavy metals made clear that plaintiffs have nothing

to support general causation beyond the speculative theory that, at some

unspecified dose, some metals might cause other cancers. Dr. Saed’s testimony,

intended to support the theory that talc itself is genotoxic, confirmed that his study

did not support his opinions, that he was at best neglectful in conducting his

experiment and, at worst, that he made up his results in an attempt to fulfill

plaintiffs’ litigation needs. And the hearing testimony also exposed numerous

holes in plaintiffs’ inflammation theory, including the lack of evidence that talc

reaches a woman’s ovaries, that it causes chronic inflammation there or even that

chronic inflammation causes ovarian cancer.

         Fourth, the hearing also confirmed that plaintiffs’ experts have taken

positions in the courtroom that they have not taken in the laboratory or clinic. For

example, Dr. Clarke-Pearson admitted that he does not tell his patients about the

supposed talc-ovarian cancer link, and Dr. McTiernan (who testified in Congress,

flanked by plaintiffs’ lawyers) conceded that her views about the hierarchy of


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evidence expressed in this litigation are different from those she took as a panelist

at the World Cancer Research Fund (“WCRF”).

         In short, the hearing confirmed that plaintiffs’ experts have not approached

the issues in this litigation with the rigor that behooves disinterested scientists.

                                     ARGUMENT
I.       THE HEARING CONFIRMED THAT PLAINTIFFS’ EXPERTS’
         OPINIONS LACK GENERAL ACCEPTANCE IN THE SCIENTIFIC
         COMMUNITY.
         It is widely recognized that expert opinions that conflict with conclusions

reached by public health authorities should be viewed with particular skepticism.

See, e.g., McMunn v. Babcock & Wilcox Power Generation Grp., Inc., No. 10-143

et al., 2013 WL 3487560, at *22 (W.D. Pa. July 12, 2013) (excluding opinion of

general causation expert that was contrary to conclusions reached by public health

organizations); Miller v. Pfizer, Inc., 196 F. Supp. 2d 1062, 1067, 1085 (D. Kan.

2002) (excluding expert whose opinion that Zoloft could cause suicide conflicted

with the scientific consensus, including the American College of

Neuropsychopharmacology, the U.S. Food and Drug Administration (“FDA”), and

the Medicines Control Agency).1 Here, the testimony adduced at the Daubert

1
        (See also Defs.’ GC Mot. at 108-09 (ECF No. 9736)); In re Mirena IUS
Levonorgestrel-Related Prods. Liab. Litig. (No. II), 387 F. Supp. 3d 323 (S.D.N.Y.
2019) (granting summary judgment and noting that experts had been excluded
where they sought to advance a general causation opinion that no research outside
litigation had reached).


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hearing demonstrated that plaintiffs’ experts’ opinions contradict the scientific

consensus that there is “inadequate,” “limited” or inconclusive evidence of a causal

relationship between perineal talc use and ovarian cancer. As Dr. Clarke-Pearson

conceded, none of the relevant professional organizations in his field – including

the Society of Gynecologic Oncology (“SGO”), American College of Obstetricians

and Gynecologists (“ACOG”), Centers for Disease Control and Prevention

(“CDC”), National Cancer Institute (“NCI”) and the FDA – has concluded that

perineal talc use causes ovarian cancer.2 And Dr. Clarke-Pearson also conceded

that the medical community has not reached any consensus on whether perineal

talc use causes ovarian cancer.3

         Plaintiffs’ experts also admitted that their opinions contradict IARC’s

conclusions on a number of critical points. Most notably, plaintiffs’ experts

conceded at the hearing that IARC has concluded that there is only “limited

evidence in humans for the carcinogenicity of perineal use of talc based body

powder.”4 Further, while plaintiffs’ experts base their epidemiology opinions


2
      (See, e.g., 7/30/19 Hr’g Tr. 1586:23-1589:22, 1604:1-1601:11 (discussing
SGO); id. 1599:4-1602:5 (discussing ACOG); id. 1607:5-10 (discussing CDC); id.
1610:3-1611:6 (discussing NCI); id. 1620:3-8 (discussing FDA).)
3
      (Id. 1691:20-23 (“Q. The gynecologic medical community has not reached a
consensus on the opinions that you have given to this Court today. Correct? A.
That’s right.”).)
4
         IARC 2010 Monograph (Tersigni Cert. Ex. A72) (emphasis added); see also
                                                                                   (cont’d)


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almost entirely on the results of certain case-control studies, Drs. McTiernan and

Carson admitted on cross-examination that “[t]he [IARC] Working Group believed

that recall bias was a possibility inherent in the case-control studies and could not

be ruled out,”5 and that IARC recognized that “[it]t is possible that confounding by

unrecognized risk factors may have distorted the results” of the case-control

studies and could have “induce[d] the appearance of an association between the

use of talc and ovarian cancer where there is none.”6

         Plaintiffs’ experts were also forced to concede that their migration theory –

i.e., that externally-applied talc migrates up through the reproductive tract to the

fallopian tubes and ovaries – stands in contrast to IARC’s conclusions that “the

evidence for retrograde transport of talc to the ovaries in normal women is weak”7

and that “[s]tudies in animals (rodents, langomorphs and non-human primates)




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(cont’d from previous page)
7/25/19 Hr’g Tr. 916:13-917:4 (Dr. McTiernan acknowledging this conclusion);
7/29/19 Hr’g Tr. 1434:1-18 (Carson acknowledging same).
5
      IARC 2010 Monograph at 409. (See also 7/25/19 Hr’g Tr. 917:8-10 (Dr.
McTiernan acknowledging that IARC could not rule out bias); 7/29/19 Hr’g Tr.
1435:7-10 (Dr. Carson acknowledging same).)
6
      IARC 2010 Monograph at 408. (See also 7/25/19 Hr’g Tr. 917:14-16 (Dr.
McTiernan acknowledging that IARC could not rule out confounding); 7/29/19
Hr’g Tr. 1435:7-10 (Dr. Carson acknowledging same).)
7
      IARC 2010 Monograph at 411. (See 7/30/19 Hr’g Tr. 1665:8-15 (Dr.
Clarke-Pearson acknowledging that the evidence was weak).)


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showed no evidence of retrograde transport of talc to the ovaries.”8 In addition,

Dr. Clarke-Pearson acknowledged that IARC considered many of the very same

studies on which he relied in forming his migration opinions but found that

because those studies were “conducted in women who were about to undergo

gynecological surgery, most of whom had diseases or complications of the

reproductive tract and organs that required surgery,” their results may be

“confounded by the . . . underlying pathologies.”9

              At the hearing, plaintiffs’ experts attempted to downplay IARC’s

conclusions as outdated because they were based on the science as it stood in

2006.10 But, as plaintiffs’ experts were forced to admit, a number of the cohort

studies showing no risk associated with talc use (Houghton, Gonzalez, Gates) were

published after IARC reached its conclusions.11 Indeed, the wider body of

evidence that has emerged since the IARC monograph was written strengthens

IARC’s conclusion that a causal link has not been shown, contrary to plaintiffs’


8
         IARC 2010 Monograph at 411.
9
       (7/30/19 Hr’g Tr. 1661:14-1662:20.) Dr. Clarke-Pearson also agreed with
the statement that “[n]one of the articles that you cite in support of your opinion
regarding migration looked at whether talc can migrate from perineal application
through the reproductive organs to the ovaries.” (Id. 1665:16-1666:25.)
10
      (E.g., id. 1656:14-17 (“Q. You know IARC has not concluded that talc
causes ovarian cancer. Correct? A. This is a 2010 publication based on data that
preceded the working group coming to this conclusion.”).)
11
         (See id. 1657:8-1660:16 (Dr. Clarke-Pearson discussing the cohort studies).)


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experts’ suggestions.12 Perhaps for this reason, Dr. McTiernan was forced to

concede that any suggestion that IARC would be likely to reach a different

conclusion today would be “speculati[ve].”13

         Given the lack of scientific support for their opinions, it is not surprising that

plaintiffs’ experts’ causation opinions are contradicted by the very studies and

publications on which they rely, which is a significant red flag, as this Court has

recognized elsewhere. See Schepise v. Saturn Corp., No. CIV.A. 94-385 (MLP),

1997 WL 897676, at *17 (D.N.J. July 30, 1997) (Wolfson, J.) (“[R]eliance upon

medical literature for conclusions not drawn therein is not an accepted scientific

methodology.”) (citation omitted). Even the Health Canada Draft Screening

Assessment, on which plaintiffs and their experts have placed heavy emphasis,14


12
      As Dr. Ballman explained in her report, the cohort studies consist of “the
most compelling new information provided by epidemiology studies since the
IARC report,” and these studies “confirm” what IARC had found – namely, “the
lack of a statistically significant association between perineal/genital talcum
powder use and the lack of a dose-response relationship.” (Ballman Rep. at 44
(Tersigni Cert. Ex. C25).)
13
         (7/25/19 Hr’g Tr. 919:3-6.)
14
       (See, e.g., id. 800:7-15 (Dr. McTiernan noting that she considered Health
Canada’s draft assessment in forming her opinion); id. 923:5-16 (Dr. McTiernan
admitting that she focused on Health Canada draft assessment over FDA’s
findings); id. 935:21-24 (Dr. McTiernan testifying that her opinion is consistent
with Health Canada’s); see also 7/29/19 Hr’g Tr. 1281:24-1282:14 (Dr. Carson
citing Health Canada draft assessment to support the notion that “transport from
the perineum to the ovaries does occur”); 7/29/19 Hr’g Tr. 1316:1-8 (Dr. Carson
stating that Health Canada “determined . . . that available data are indicative of a
                                                                                     (cont’d)


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stops significantly short of concluding that there is a causal link between talc use

and ovarian cancer. Among other things, Health Canada’s Draft Screening

Assessment expressly states that:

               “There is a lack of an available exposure-effect relationship in the
                human epidemiological data. Many of the studies only assessed a
                single-dose level (ever versus never users). Furthermore, data with
                respect to the types of powder used by subjects or the amounts applied
                were not presented, and therefore a relationship between the
                concentration/dose of talc in the powder and the incidence of ovarian
                cancer could not be investigated;”15

               “There are limitations with the human epidemiological data. Potential
                sources of bias include selection bias due to low response rates or
                from limiting subjects, and exposure misclassification due to recall
                bias;”16 and

               “[T]he specific mechanism(s) and cascade of molecular events by
                which talc might cause ovarian cancer have not been identified.”17
         In addition, Dr. McTiernan conceded that the Taher meta-analysis that is

prominently cited in the Draft Screening Assessment did not conclude that a causal

link has been established between talc and ovarian cancer, but only that “currently

________________________
(cont’d from previous page)
causal effect”); 7/29/19 Hr’g Tr. 1427:15-18 (Dr. Carson testifying that “the Health
Canada report is clearly more current and more inclusive than any of the others
that have been published thus far, and for that reason I gave it stronger
consideration when I finally received it”).)
15
       Draft Assessment at 2 (Tersigni Cert. Ex. A58) (emphasis added). (See also
7/29/19 Hr’g Tr. 1727:8-15 (Dr. Clarke-Pearson agreeing that Health Canada noted
the lack of data supporting an exposure effect).)
16
         Draft Assessment at 28.
17
         Draft Assessment at 21.


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available relevant data indicates that perineal exposure to talc powder is a possible

cause of ovarian cancer in humans.”18 Notably, a PowerPoint presentation created

by the authors of the Taher meta-analysis, and supplied to plaintiffs’ counsel by

one of their experts, concluded that the evidence shows only that talc would

qualify as a “Group IIIA” agent under Health Canada’s classification system – i.e.,

“Possibly Carcinogenic to Humans” – because, while epidemiological data

“indicate an association between exposure and human cancer, . . . alternative

explanations such as chance, bias or confounding cannot be excluded.”19 The

PowerPoint presentation, which plaintiffs’ experts had not seen before the




18
       (7/25/19 Hr’g Tr. 956:23-957:7 (emphasis added).) In addition, the Taher
meta-analysis identifies a number of biases inherent in the case-control studies that
could have distorted study results and acknowledges that the relevant evidence
“indicates that talc is not genotoxic.” Taher 2018 at 41-42 (Tersigni Cert. Ex.
A137). The Taher meta-analysis, which has now been published in a European
journal, includes additional language stating that “perineal application of talc may
be a risk factor for ovarian cancer in some population subgroups,” and does not in
any way suggest that causation has been established. Notably, the published
version also states that “the certainty of the evidence” underlying the meta-analysis
“was classified as very low,” “mainly due to the potential for recall bias in the
included case control studies and the relatively short follow-up periods between
exposure and outcome assessment in the included cohort studies.” Taher et al.,
Critical Review of the Association Between Perineal Use of Talc Powder and Risk
of Ovarian Cancer, 90 Reprod. Toxicol. 88, 98-99 & fig. 4 (2019) (attached as Ex.
1 to Cert. of Jessica L. Brennan (“Brennan Cert.”).
19
      (Krewski PPT at 30 (Brennan Cert. Ex. 2) (emphasis added); 7/29/19 Hr’g
Tr. 1435:11-17.)


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hearing,20 also states that the “specific mechanism(s) and cascade of molecular

events by which talc might cause ovarian cancer have not yet been elucidated.”21

         Plaintiffs’ experts also admitted under cross-examination that many of the

other materials they rely on actually contradict their conclusions. For example:

         Berge 2018. Dr. Clarke-Pearson cited the Berge meta-analysis as

establishing a statistically significant increased risk of ovarian cancer from talc

use.22 Similarly, Dr. McTiernan testified that Berge is an “excellent” meta-analysis

that supports her conclusion that the epidemiology is highly consistent.23 But as

these experts had to concede on cross-examination, the Berge study expressly

states that “the evidence is not consistent” because “[s]everal aspects of our

results, including the heterogeneity of results between case-control and cohort

studies . . . do not support a causal interpretation of the association.”24 In


20
       (7/30/19 Hr’g Tr. 1731:20-1733:7 (Dr. Clarke-Pearson testifying that he had
not been made aware of and had not considered the PowerPoint presentation prior
to giving testimony at the hearing).)
21
      (Krewski PPT at 17; see also 7/29/19 Hr’g Tr. 1435:11-1436:15 (Dr. Carson
admitting that the PowerPoint presentation suggested a designation of talc as only
“possibly carcinogenic” because “‘alternative explanations such as chance, bias, or
confounding cannot be excluded’”) (citation omitted).)
22
         (7/30/19 Hr’g Tr. 1537:3-1538:1.)
23
         (7/25/19 Hr’g Tr. 830:3-12.)
24
       Berge 2018 at 248, 256 (Tersigni Cert. Ex. A11) (emphases added). (See
also 7/30/19 Hr’g Tr. 1687:5-7 (Dr. Clarke-Pearson agreeing that the “authors of
Berge [2018] do not state that talc causes ovarian cancer”); id. 1683:8-13
(conceding Huncharek 2003 “do[es] not support a causal relationship”); id.
                                                                                 (cont’d)


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addition, Berge also notes that the association reported may “be attributed to bias”

in the case-control studies and concludes that the “biological basis and plausibility

of a possible carcinogenic effect of talc on the ovaries is still not understood and

remains questionable.”25

         Penninkilampi 2018. Dr. Clarke-Pearson testified at the hearing that the

2018 Penninkilampi meta-analysis supports both his conclusion that there is a

causal connection between talc use and ovarian cancer, as well as the theory that

talc initiates cancer by triggering inflammation in ovarian tissue.26 On cross-

examination, however, Dr. Clarke-Pearson conceded that Penninkilampi explicitly

states that a causal link has not been established.27 Dr. Clarke-Pearson also had to

acknowledge that Penninkilampi does not provide any actual scientific evidence to

support his inflammation theory, but instead merely posits that inflammation could

be a mechanism by which talc could cause ovarian cancer.28 In fact,

Penninkilampi expressly concludes that the “potential mechanism by which genital


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1685:6-8 (conceding that “[t]he authors of [Gross and Berg 1995] did not conclude
that talc causes ovarian cancer”); id. 1690:3-6 (conceding that “[t]he authors of
[Langseth 2008] did not conclude . . . that talc causes ovarian cancer”).)
25
         Berge 2018 at 255 (emphasis added).
26
         (7/30/19 Hr’g Tr. 1540:5-18, 1644:20-25.)
27
         (Id. 1644:11-1645:13.)
28
         (Id. 1643:1-5.)


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talc is associated with an increased risk of ovarian cancer . . . remains unclear.”29

         Rothman 2000. At the hearing, Dr. McTiernan relied on statements by Dr.

Kenneth Rothman (discussed further in Section II.B, below) to the effect that the

statistical significance of epidemiological studies should not be taken into account

when considering whether their results are consistent.30 But at the same time, Dr.

McTiernan ignored Dr. Rothman’s conclusion in 2000 that the “evidence to date

does not indicate that talc can be ‘reasonably anticipated to be a human

carcinogen,’” given that: (1) the “weak positive association observed” in the

literature could be the result of bias or confounding, and (2) there is a “lack of a

plausible biologic mechanism.”31 As Dr. Diette noted at the hearing, Dr. Rothman

has also pointed out that some of the epidemiological data regarding talc and

ovarian cancer has identified an “inverse[]” dose response, “meaning the more

[talc] you used,” the more the product would be “protective from ovarian

cancer.”32

         Merritt 2007. Dr. Clarke-Pearson testified at the hearing that Merritt


29
       Penninkilampi 2018 at 45 (Tersigni Cert. Ex. A109) (emphasis added); see
also id. at 48 (concluding that there is “need for further research on a potential
mechanism by which ovarian cancer may be caused by talc, as this will allow a
causal relationship to be established or rejected with more certainty”).
30
         (7/25/19 Hr’g Tr. 935:6-20.)
31
         Rothman 2000 at 1, 8 (Tersigni Cert. Ex. A126).
32
         (7/26/19 Hr’g Tr. 1193:4-21.)


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supports the proposition that inflammation causes ovarian cancer, claiming that the

paper shows that “the use of [the anti-inflammatory] aspirin on a continuous daily

basis does reduce the incidence of ovarian cancer.”33 But Dr. Clarke-Pearson

ultimately had to acknowledge that Merritt found that there was “[n]o overall

association [between] ovarian cancer risk” and NSAID use, and that the ultimate

conclusion of the paper was that “chronic inflammation does not play a major role

in the development of ovarian cancer.”34

         Terry 2013. Dr. Carson cited Terry at the hearing as evidence of a “strong”

and “compelling” association between talc use and ovarian cancer, and both Drs.

McTiernan and Clarke-Pearson asserted that Terry demonstrates a dose-response

relationship between the two.35 But the Terry article does not support either of

these propositions. Instead, as Dr. Carson admitted on cross-examination, Terry

describes the reported association between talc and ovarian cancer as “modest.”36

In addition, Dr. McTiernan conceded that Terry found no dose-response

relationship among users of talcum powder37 – and Dr. Clarke-Pearson


33
         (7/30/19 Hr’g Tr. 1639:7-11.)
34
         (Id. 1631:8-18, 1634:10-23 (emphasis added) (citations omitted).)
35
      (7/29/19 Hr’g Tr. 1411:18-1412:4; 7/25/19 Hr’g Tr. 791:2-794:1; 7/30/19
Hr’g Tr. 1613:23-1614:5.)
36
         (7/29/19 Hr’g Tr. 1412:8-19.)
37
         (7/25/19 Hr’g Tr. 888:8-889:23.)


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acknowledged that government scientists have described Terry as demonstrating

that “the trend across increasing lifetime number of applications was not

statistically significant.”38

         In short, the testimony at the hearing demonstrated that plaintiffs’ experts’

causation opinions are belied by the very evidence cited to support them. This

alone requires exclusion of their opinions.

II.      THE HEARING HIGHLIGHTED THE UNRELIABILITY OF
         PLAINTIFFS’ EXPERTS’ BRADFORD HILL ANALYSES.
               The Hearing Confirmed That There Is No Reliable Basis For
               Plaintiffs’ Experts’ Opinions Concerning Strength Of Association.
         Plaintiffs’ experts’ testimony at the hearing essentially abandoned their

position that Bradford Hill’s “strength” consideration is satisfied by the talc-

ovarian cancer epidemiological literature.

         In his report and direct testimony at the hearing, Dr. Carson asserted that the

“epidemiological studies support a strong association between the perineal use of

talcum powder and ovarian cancer.”39 But these opinions unraveled during cross-

examination, when Dr. Carson was forced to acknowledge that the studies he relied

on showed only a 30 percent increased risk of ovarian cancer, which he agreed


38
     (7/30/19 Hr’g Tr. 1613:3-1616:3 (quoting NCI PDQ (Tersigni Cert. Ex.
A104)).)
39
       (Carson Rep. at 9 (Tersigni Cert. Ex. C9); 7/29/19 Hr’g Tr. 1311:7-10
(finding “compelling” evidence of a strong association).)


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would be regarded as a “weak or modest” association by epidemiologists.40

Although Dr. Carson attempted to justify his use of the word “strong” based on the

“translation of that increased risk to 3,000 ovarian cancer deaths in the United

States every year,” he admitted that such a conclusion is circular because it

assumes that perineal talc use does in fact cause ovarian cancer.41

         Dr. Clarke-Pearson could not even bring himself to claim that the

association was strong on direct examination, instead testifying that there was

“overwhelming support in the epidemiologic literature that talcum powder

statistically increased a woman’s risk of developing epithelial ovarian cancer by

about 30 percent.”42 Of course, even if there were “overwhelming support” for a


40
       (7/29/19 Hr’g Tr. 1406:9-18.) Moreover, Dr. Carson was forced to concede
that the very studies he cited recognize that the association is not strong. (See id.
1412:15-16 (acknowledging that Terry 2013 called the association “modest”); id.
1412:17-19 (Q. “They didn’t call it strong or compelling. Correct?” A. “Not in
this case, that’s correct.”); id. 1412:20-1413:6 (conceding that Berge 2017 called
the association “weak”).) Likewise, Dr. Carson acknowledged that IARC regarded
the association reported by the case-control studies as “modest” and potentially the
result of bias and confounding. (Id. 1434:23-1435:6.)
41
       (Id. 1408:13-16 (“It does rely on that assumption.”).) Several of plaintiffs’
experts who did not testify at the hearing similarly opined that this Bradford Hill
factor was satisfied by re-defining “strength” in a similar manner. (See, e.g.,
Smith-Bindman Rep. at 36-38 (Tersigni Cert. Ex. C36) (concluding strength of
association is met because of a “large number of cancers”); Smith Rep. at 19
(Tersigni Cert. Ex. C16) (arguing strength of association is met for anything that
“increases the risk of ovarian cancer by ANY consistent percentage” because
ovarian cancer is “not a trivial occurrence”).)
42
         (7/30/19 Hr’g Tr. 1542:9-14.)


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weak association (which is not the case here), that would not magically make an

otherwise weak association strong. Dr. Clarke-Pearson’s effort to back away from

his prior claims that the association is strong43 was not surprising given that the

association is “objectively weak in certain of the studies and non-existent in

others,”44 as Dr. Diette explained at the hearing.

         Finally, the testimony at the Daubert hearing further discredited the theory

expressed by several of plaintiffs’ experts that strength of association is not

important to the analysis because other objectively weak associations – such as

those between hormone replacement therapy (“HRT”) and breast cancer or

secondhand smoke and lung cancer – are nevertheless considered causal. As Dr.

McTiernan admitted, this case is “very different” from the reported association

between HRT and breast cancer because the risk estimates for that association

were based on randomized control trials – the gold standard for epidemiology –

and prospective cohort studies that found a consistent association,45 virtually




43
       (See Clarke-Pearson Rep. at 8 (Tersigni Cert. Ex. C14) (asserting that
“[s]trength and consistency” considerations are “supported by overwhelming
epidemiologic evidence”) (emphasis omitted).)
44
       (7/26/19 Hr’g Tr. 1027:15-21; see also id. 1035:20-1036:15 (testifying that
“you have to conclude that [the strength of association] is weak” and that relative
risks close to 1 are “remarkably low”).)
45
         (7/25/19 Hr’g Tr. 909:6-911:23.)


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eliminating concerns about recall bias and confounding.46 And Dr. Diette

explained at the hearing that in the case of both HRT and secondhand smoke,

researchers were able to conclude that a low relative risk could nonetheless support

a finding of a causal association because the other Bradford Hill factors were

plainly satisfied, which is not the case here.47

         In short, the hearing confirmed that plaintiffs’ experts’ opinions regarding

strength of association are unreliable because they mischaracterize the objective

magnitude of the association reported in the studies and rest on inapposite

comparisons to established causal relationships.48

               Plaintiffs’ Experts’ Testimony At The Hearing Confirmed That
               Their Opinions Regarding Consistency Are Unreliable.
         The hearing also highlighted the unreliability of plaintiffs’ experts’ analyses

with respect to the second Bradford Hill criterion: consistency of association.49


46
         (See 7/26/19 Hr’g Tr. 1029:13-1032:13.)
47
         (Id. 1030:20-1031:8.)
48
      Notably, several of plaintiffs’ experts who did not testify at the trial similarly
had to concede at their depositions that the association is not strong. (See, e.g.,
Kane Dep. 256:24-257:4 (Tersigni Cert. Ex. B45) (“I’ve seen ‘weak’ or ‘moderate’
used to describe a 1.3” risk ratio); compare Singh Rep. at 17 (Tersigni Cert. Ex.
C40) (“strength of association . . . is significant”), with Singh Dep. 140:19-25
(Tersigni Cert. Ex. B47) (“I’m not looking at talc at 1.3 is a strong association.”).)
49
       (GC Mot. at 47-48 (“Consistency of association means that ‘[d]ifferent
studies that examine the same exposure-disease should yield similar results,’ and
that an observed association should be ‘repeatedly observed by different persons,
in different places, circumstances and times.’”) (alteration in original) (citations
                                                                                   (cont’d)


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         First, plaintiffs’ experts could not defend the position that the case-control

and cohort studies are consistent with each other. As Dr. McTiernan conceded,

there is not a single “prospective cohort study concluding that there was a

statistically significant overall association between talc use and ovarian cancer.”50

In addition, Dr. McTiernan also conceded (as noted above) that the Berge 2018

meta-analysis expressly noted an inconsistency between cohort and case-control

studies.51 Specifically, Dr. McTiernan had to admit that Berge, which she referred

to as an “excellent” study, concluded that there was a “‘heterogeneity of results

between the two groups of studies with an association generally detected in case-

control studies but not in cohort studies.’”52

         Dr. Carson admitted at the hearing that he simply ignored the cohort studies

in concluding that consistency was satisfied,53 testifying that he failed to include or

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omitted).)
50
         (7/25/19 Hr’g Tr. 851:11-15.)
51
       (Id. 828:22-829:6 (agreeing that the Berge abstract states that “[s]ome
[epidemiological] studies suggest an association between genital use of talc
powder and increased risk of ovarian cancer, but the evidence is not consistent”)
(citation omitted).)
52
        (Id. 958:13-959:2 (citation omitted).) Dr. McTiernan similarly conceded
that Penninkilampi 2018 concluded that the relevant epidemiological studies were
inconsistent, with all of the cohort studies demonstrating the “possibility that there
is in fact no association at all between genital talc use and ovarian cancer.” (Id.
852:19-853:22.)
53
         (See 7/29/19 Hr’g Tr. 1417:21-1418:17 (Dr. Carson acknowledging that he
                                                                                   (cont’d)


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analyze the cohort studies because they did not “contribute[] to the opinions that

[he] expressed,”54 an apparent admission of improper cherry-picking. See In re

Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig., 26 F. Supp. 3d 449, 461-62

(E.D. Pa. 2014) (excluding expert whose “conclusions are drawn from trends she

observed in a self-selected subset of supportive studies, not the totality of the

epidemiological evidence”). Similarly, Dr. Clarke-Pearson acknowledged at the

hearing that he did not mention, much less analyze, the cohort studies in his expert

report.55 Dr. Clarke-Pearson’s purported justification for failing to include the

cohort studies in his causation analysis was that he did not “consider [the cohort

studies] useful in terms of going to the totality” of the evidence, either as

“individual cohort studies or as a body of evidence.”56 The notion that an entire

body of studies did not “contribute” to Dr. Clarke-Pearson’s analysis and

conclusions57 highlights the unscientific nature of his efforts.

         Plaintiffs’ experts’ related efforts to discredit the cohort studies as not being
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did not “analyze any of the cohort studies” in his report or identify any of them “by
name in the body of [his] report”; or list any of them as references because he “did
not feel they contained information that was necessary to cite”).)
54
         (Id. 1418:18-25.)
55
         (7/30/19 Hr’g Tr. 1677:20-22.)
56
         (Id. 1678:5-8.)
57
      (Id. 1677:20-1680:7.) Several plaintiffs’ experts who did not appear at the
hearing likewise ignored the cohort studies in opining on consistency. (See, e.g.,
Smith Rep. at 16; Wolf Rep. at 8, 15 (Tersigni Cert. Ex. C23).)


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sufficiently powered were also refuted at the hearing.58 For example, Dr. Carson

admitted at the hearing that he did not perform any calculations related to the

power of the relevant cohort studies that could possibly support his opinion that

those studies were not sufficiently powered.59 Instead, Dr. Carson merely assumed

that this was the case because he believes that the “design of cohort studies . . .

tend[s] to go toward the many cohort studies being underpowered.”60

         Dr. McTiernan disputed that the alleged power issues in cohort studies could

be overcome by combining the data from the relevant studies in a meta-analysis,61

but she made a number of concessions at the hearing that undermined that position.

Most notably, Dr. McTiernan was forced to acknowledge on cross-examination

that she had, in previous testimony, agreed with the proposition that “meta-

analyses, with their larger combined sample sizes, can be used to overcome [a]

lack of statistical power.”62 In addition, Dr. McTiernan admitted that the

“excellent” Berge 2018 meta-analysis concluded that “the statistical power of the

58
         (GC Mot. at 50-53.)
59
      (7/29/19 Hr’g Tr. 1424:3-8 (“I did not determine the power of the cohort
studies specifically.”).)
60
      (Id.; see also id. 1424:9-18 (Dr. Carson agreeing that his only analysis of the
power of the cohort studies was to “read the studies, look[] at their conclusions,
and” determine that “their conclusions were not that the effect didn’t exist, but that
they couldn’t detect it”).)
61
         (See 7/25/19 Hr’g Tr. 861:6-14.)
62
         (Id. 861:21-862:1.)


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meta-analysis of the[] cohort studies to detect an RR of 1.25 similar to the result of

the meta-analysis of case-control studies was 0.99” and thus, the allegedly low

power of the cohort studies “cannot be invoked as [an] explanation of the

heterogeneity of results.”63

         In short, the hearing confirmed that plaintiffs’ experts’ willingness to

dismiss an entire body of studies could not be scientifically supported.

         Second, plaintiffs’ experts were forced to admit that the condom and

diaphragm studies that find no association with ovarian cancer are inconsistent

with the case-control studies involving perineal talc use that do find such an

association. Indeed, Dr. McTiernan admitted that the very studies on which she

and other plaintiffs’ experts rely – including Berge 2018 and Penninkilampi 2018 –

identify an odds ratio of less than 1.0 for ovarian cancer and talc-dusted diaphragm

use.64 As Dr. Diette explained, this reported negative association between the use

of talc-dusted diaphragms and condoms is a significant inconsistency in the




63
       (Id. 862:10-21 (citation omitted).) Several of plaintiffs’ other experts
likewise did not dispute Berge’s calculation regarding the power of cohort studies
when pressed at their depositions. (See, e.g., Moorman Dep. 215:17-23 (Tersigni
Cert. Ex. B39) (“I don’t disagree with that”); Wolf Dep. 261:23-262:9 (Tersigni
Cert. Ex. B30) (admitting that she had no basis to disagree with Berge).)
64
      (See 7/25/19 Hr’g Tr. 907:11-908:19.) The negative association in Berge
was statistically significant, which, according to Dr. McTiernan, indicates a
protective effect. (Id. 906:9-907:25.)


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epidemiological literature.65 Dr. Saenz testified similarly, noting that the negative

association reported in diaphragm studies “is a perfect example of” an

inconsistency in the science.66 In her words:

                 Conceptually it makes no sense that putting talc on your
                 diaphragm, which then goes in and sits at the mouth of your
                 cervix, would reduce your risk of ovarian cancer; whereas,
                 placing talc outside on the perineum, a good 7, 8 centimeters
                 away would increase your risk of ovarian cancer. . . . [T]hat’s
                 part and parcel of the reason that I do not believe that the
                 literature supports a causal role of talc in the development of
                 ovarian cancer.67
         Third, the testimony at the hearing demonstrated that even the case-control

studies do not consistently show an association between talc use and ovarian

cancer. Dr. McTiernan conceded at the hearing that only 12 of the 24 case-control

studies cited in the Berge 2018 meta-analysis showed an association between talc

exposure and ovarian cancer that was statistically significant.68 By contrast, the

other half of the case-control studies involve confidence intervals that cross 1.0,

meaning that the association between talc and ovarian cancer could actually be

“null.”69 As discussed extensively in defendants’ prior briefing, plaintiffs’ experts

have brushed aside this inconsistency within the case-control studies by attacking
65
         (See 7/26/19 Hr’g Tr. 1055:8-19.)
66
         (7/31/19 Hr’g Tr. 1835:19-22.)
67
         (Id. 1835:22-1836:7.)
68
         (7/25/19 Hr’g Tr. 842:13-845:7.)
69
         (Id.)


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the well-established concept of statistical significance as irrelevant and obsolete,

and contending that studies with statistically insignificant results cannot be treated

as though they show no association.70 But the testimony adduced at the hearing

made clear that this assault on statistical significance has failed to gain general

acceptance in the scientific community.

         For example, Dr. Carson admitted at the hearing that Health Canada

recognizes the importance of statistical significance by categorizing studies with

confidence intervals that cross 1.0 as showing “[n]o association” between exposure

and disease.71 Dr. Carson also conceded that it was “not improper” for Health

Canada to report non-statistically-significant results as demonstrating “no

association” under applicable scientific principles.72 Dr. McTiernan similarly

acknowledged that studies with non-statistically-significant results – i.e.

confidence intervals crossing 1.0 – suggest that there could be a “null association”

between an exposure and disease:

               Q. If the confidence interval, the range, includes 1.0, that is, it
               goes above and below 1.0, you cannot say that there is an
               association. Right?

               A. What we can say is that the association between exposure
               and disease could be null. So it could be. That’s exactly what I

70
         (GC Mot. at 61-66.)
71
         (7/29/19 Hr’g Tr. 1430:19-22; see also Draft Assessment tbl. 6-1.)
72
         (7/29/19 Hr’g Tr. 1430:23-25.)


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               said here, that it could be null.73

As Dr. McTiernan also testified, it is her “understanding” that the confidence

interval in a study demonstrates “what the true relative risk might be,” and a

confidence interval that crosses 1.0 therefore indicates that a risk may not exist.74

Dr. McTiernan thus conceded that she could not rule out the possibility that study

results that were not statistically significant showed no risk.75

         Finally, the testimony at the hearing confirmed that calls to “retire”

statistical significance by certain epidemiologists, including statements by Dr.

Rothman and a recent editorial in Nature co-authored by one of plaintiffs’ retained

experts, Sander Greenland, are theoretical and do not reflect the realities of the

scientific world. As Dr. Diette put it:

               I can tell you that in the current world I work in of
               epidemiology and medicine we rely on p-Values, we rely on 95
               percent confidence intervals, and I can’t send a paper to a
               publication and say: By the way Sander Greenland said I
               shouldn’t be doing this, so I don’t want you to look at this . . . .
               There could be a better way, but at the moment these are not the
               rules of the game. These are somebody’s opinion about what
               might happen.76




73
         (7/25/19 Hr’g Tr. 925:2-8; see also id. 835:16-836:2.)
74
         (Id. 841:4-10.)
75
         (Id. 841:23-842:12.)
76
         (7/26/19 Hr’g Tr. 1156:25-1157:22.)


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               The Hearing Underscored The Fact That Plaintiffs’ Experts’
               Dose-Response Opinions Lack A Reliable Basis.
         The testimony at the hearing similarly confirmed that plaintiffs’ experts’

analyses of dose response were unreliable and results-oriented.

         As defendants have previously argued, evidence of dose response is integral

to an assessment of whether talc use causes ovarian cancer.77 See, e.g., Chapman

v. Procter & Gamble Distrib., LLC, 766 F.3d 1296, 1308 (11th Cir. 2014) (a dose

response is “indispensable to proving the effect of an ingested substance” and

“establish[ing] general causation”); McClain v. Metabolife Int’l, Inc., 401 F.3d

1233, 1242 (11th Cir. 2005) (dose response may be the “single most important

factor to consider in evaluating whether an alleged exposure caused a specific

adverse effect”) (citation omitted). Dr. Diette confirmed this point, explaining that

dose response is an “important criterion” and that one “would expect to see [a

dose-response relationship] for an exposure that’s causing a disease.”78

         Yet, as plaintiffs’ experts acknowledged at the hearing, dose-response data

are absent in many studies, and the data that do exist are inconsistent.79 For

77
         (GC Mot. at 67-70.)
78
         (7/26/19 Hr’g Tr. 1052:21-23, 1053:24-1054:3.)
79
       Once again, plaintiffs’ other experts made the same acknowledgments in
their reports or depositions. (See Kane Rep. at 35 (Tersigni Cert. Ex. C38)
(evidence of dose response “equivocal”); Smith-Bindman Rep. at 40 (dose-
response “results are inconsistent”); Siemiatycki Dep. 123:8-14 (Tersigni Cert. Ex.
B29) (any dose-response data “that exists today” “could be a chance finding”).)


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example, despite the claim in plaintiffs’ expert reports that “[m]any of the 28 case

control studies found evidence of a dose-response effect,”80 Dr. Clarke-Pearson

testified that the “case-control studies don’t really address dose-response” at all.81

Likewise, although plaintiffs’ experts repeatedly touted the Health Canada Draft

Screening Assessment at the hearing,82 that draft assessment concluded that

“[t]here is a lack of an available exposure-effect relationship in the human

epidemiological data”; that “a relationship between the concentration/dose of talc

in the powder and the incidence of ovarian cancer could not be investigated”; and

that even among “studies that provided some evidence of increased risk of ovarian

cancer with increasing perineal applications of talc,” “none demonstrated both a

clear dose-response trend and statistical significance.”83 Indeed, Dr. McTiernan

was forced to concede at the hearing that the findings as to dose response in the

epidemiological literature are at best inconsistent.84


80
         (McTiernan Rep. at 65 (Tersigni Cert. Ex. C7).)
81
         (7/30/19 Hr’g Tr. 1538:5-6.)
82
      (See, e.g., 7/25/19 Hr’g Tr. 800:7-15; 7/29/19 Hr’g Tr. 1316:1-8; 7/30/19
Hr’g Tr. 1725:1-10.)
83
       Draft Assessment at 20-21. (See also 7/26/19 Hr’g Tr. 1053:8-20 (noting
that the authors of the Health Canada assessment determined that the data did not
demonstrate a dose-response relationship).)
84
      (7/25/19 Hr’g Tr. 886:16-887:22.) As Dr. Diette explained at the hearing,
the dose-response findings in the literature were “highly inconsistent,” which is
what would be expected “when you don’t have a causal relationship.” (7/26/19
Hr’g Tr. 1051:4-1054:3.) And while Dr. McTiernan emphasized Penninkilampi’s
                                                                                 (cont’d)


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         Plaintiffs’ experts’ testimony at the hearing also revealed that the studies on

which they rely to support their dose-response conclusions do not actually support

those conclusions. For example, in their reports, Drs. McTiernan and Clarke-

Pearson both claimed that Terry 2013 demonstrated a clear dose-response trend.85

At the hearing, however, each acknowledged on cross-examination that the authors

of Terry 2013 concluded that there was no trend in risk with increasing talc use.86

Likewise, although Dr. McTiernan points to Cramer 1999 as evidence of a dose-

response relationship,87 the authors of that study found a significant trend only in

models that included women who were non-genitally exposed; data limited to

women with genital talc exposure showed no dose response.88

         The hearing thus confirmed that a dose-response relationship has not been

established, further demonstrating the unreliability of plaintiffs’ experts’ opinions.




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purported findings with respect to dose response (7/25/19 Hr’g Tr. 796:1-23),
Penninkilampi 2018 itself cautions that the increased risk it reports for women with
more than 3,600 lifetime applications was only “slight[]” and therefore “prone to
recall bias,” Penninkilampi 2018 at 45, 46.
85
         (McTiernan Rep. at 54; Clarke-Pearson Rep. at 9.)
86
         (See, e.g., 7/25/19 Hr’g Tr. 888:3-16; 7/30/19 Hr’g Tr. 1615:21-1616:3.)
87
         (McTiernan Rep. at 70.)
88
      (7/25/19 Hr’g Tr. 897:25-901:20; Cramer 1999 at 353 (Tersigni Cert. Ex.
A23).)


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               Plaintiffs’ Experts’ Minimal Hearing Testimony Regarding The
               Remaining Bradford-Hill Considerations Confirmed That Their
               Opinions On These Points Are Also Unreliable.
         To the extent plaintiffs’ experts addressed the remaining Bradford Hill

criteria at the hearing, they did so only in the most perfunctory and conclusory

way, further highlighting the unreliable nature of their analyses.89

         Specificity. Dr. Clarke-Pearson testified that the specificity factor was

“satisfied” because the increased risk purportedly associated with talc “is specific

for ovarian cancer, not other cancers.”90 But this statement ignores the undisputed

fact that ovarian cancer is not a single disease, but instead a number of different

diseases, all with different genetic origins, risk factors and treatments.91 As Dr.

89
      The experiment and analogy factors were not covered extensively at the
hearing. Biological plausibility is addressed separately in Part III.
90
       (7/30/19 Hr’g Tr. 1542:16-20; see also 7/29/19 Hr’g Tr. 1311:25-1312:6
(Dr. Carson testifying that what “[w]e have shown through research is that [ovarian
cancer] occurs more often in women who use talcum powder for hygienic purposes
on a regular basis. So based on that information, I believe the specificity
consideration is satisfied.”).)
91
       (See GC Mot. at 82-84; see also 7/23/19 Hr’g Tr. 290:1-293:16 (Dr. Neel
explaining the various different subtypes of ovarian cancer and noting that it is
improper to lump them together because they “are caused in different cells of
origin by different types of mutations, and, generally, mutagenic agents cause
different types of mutational processes”); 7/31/19 Hr’g Tr. 1813:19-1815:19 (Dr.
Saenz detailing the varying origins, risk factors and treatments for the different
subtypes of ovarian cancer).) Plaintiffs’ experts do not dispute this. For instance,
Dr. Judith Zelikoff wrote in her report that “[o]varian cancer comprises at least five
distinct histological subtypes” (see Zelikoff Rep. at 19 (Tersigni Cert. Ex. C24)),
though she did not consider them separately for her report (see Zelikoff Dep.
193:11-14 (Tersigni Cert. Ex. B31)).


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Neel testified, any effort to determine the cause of ovarian cancer that does not

differentiate among the various subtypes of the disease should be viewed with

“skepticism” in light of these significant differences.92 See also Gannon v. United

States, 571 F. Supp. 2d 615, 626 (E.D. Pa. 2007) (specificity criterion not satisfied

where exposure was associated with “at least half a dozen different tumors”;

“[m]ost agents that cause cancer cause a single form of cancer”), aff’d, 292 F.

App’x 170 (3d Cir. 2008).

         Temporality. Plaintiffs’ experts’ testimony with respect to temporality was

similarly perfunctory and insufficient to sustain their opinions. Dr. Carson, for

example, stated only that “temporality is satisfied” because “the exposure must

occur before the effect, [and] all of the studies that have looked at this have

assessed retrospective talcum powder exposure.”93 Dr. Clarke-Pearson similarly

mentioned temporality only once, asserting that it is “satisfied” because “there is a

clear latency period sometimes decades from the exposure of the talcum powder in

this case to the development of obvious ovarian cancers.”94 But none of plaintiffs’

experts addressed the obvious fact that the temporal connection is unremarkable


92
         (7/23/19 Hr’g Tr. 293:3-16.)
93
         (7/29/19 Hr’g Tr. 1312:7-11.)
94
      (7/30/19 Hr’g Tr. 1542:21-1543:6.) This latency theory is facially
inconsistent with the supposedly speedy mutations Dr. Saed claims to have
generated, as discussed further in Section III, below.


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given that most ovarian cancers develop later in life and most women who use

talcum powder begin doing so by their mid-20s.95

         Coherence. Plaintiffs’ experts were also unable to show that their theory

that talc use causes ovarian cancer is coherent with existing scientific knowledge.96

Indeed, plaintiffs’ experts barely touched on coherence at the hearing, instead

generally insisting that their causation theory is coherent because it is “drawn from

the research that has been considered [and] do[es] not violate any central scientific

laws or understanding.”97 This ignores defendants’ arguments, set forth in their

prior briefing, that plaintiffs’ theory is incoherent because, inter alia, different

subtypes of ovarian cancer have different etiologies; studies that have investigated

the use of talcum powder on diaphragms and condoms have found no increased

risk of ovarian cancer; and no studies have found an association between perineal

talc use and vaginal cancers.98 For these reasons, too, the hearing testimony

confirmed the unreliability of plaintiffs’ experts’ Bradford Hill analyses.

III.     THE HEARING HIGHLIGHTED THE SPECULATIVE NATURE OF
         PLAINTIFFS’ EXPERTS’ BIOLOGICAL PLAUSIBILITY
         OPINIONS.
         Plaintiffs’ experts have offered three different theories of biological

95
         (GC Mot. at 93-94.)
96
         (Id. at 84-88.)
97
         (7/29/19 Hr’g Tr. 1312:25-1313:17 (Dr. Carson addressing coherence).)
98
         (GC Mot. at 84-88.)


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plausibility: (1) that cosmetic talc contains asbestos that causes cancer; (2) that it

contains heavy metals that cause cancer; and (3) that talc itself is carcinogenic.

The hearing highlighted the unscientific and speculative nature of each theory.

               Plaintiffs Failed To Present Reliable Evidence That The Products
               Contain Asbestos At All, Much Less In An Amount Capable Of
               Causing Ovarian Cancer.
         The alleged presence of asbestos in talc does not supply a biologically

plausible mechanism through which talc use could cause cancer because: (1)

plaintiffs’ experts have not reliably shown that the relevant products contain

asbestos; and (2) even if plaintiffs’ experts’ unreliable testing methods were

accepted, they would only establish minuscule exposure, far below background

levels and regulatory limits and even farther below the heavy occupational

exposure that occurred in the studies linking asbestos and ovarian cancer.

               1.     Dr. Longo’s Methodology Cannot Positively Identify
                      Asbestos And Is Not Reproducible.
         The Daubert hearing confirmed that Dr. Longo – a professional expert99 –

applied a subjective, litigation-driven methodology that was incapable of reliably

detecting asbestos in defendants’ talc products. Dr. Longo used two microscopy

99
       Dr. Longo “testif[ies] once to twice a week” (95 percent of the time for
plaintiffs) in connection with talc cases and has done so “every week for the past
five years.” (7/24/19 Hr’g Tr. 542:16-21, 544:14-17.) This is a major turnaround
for a man who once testified that the notion that cosmetic talc contains asbestos is
an “urban legend,” a phrase he later tried to disavow by pretending he did not
know what it means. (Id. 556:15-558:6.)


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methods – transmission electron microscopy (“TEM”) and polarized light

microscopy (“PLM”) – both of which were conducted in a profoundly unscientific

manner.

         TEM. Dr. Longo’s hearing testimony made clear that his TEM

methodology failed to distinguish asbestos particles (an alleged cause of ovarian

cancer) from cleavage fragments (which no scientific literature has linked to

ovarian cancer).100 Although Dr. Longo agreed that cleavage fragments can form

in the same dimensions as asbestos fibers,101 he conceded in response to

questioning from the Court that his analysts did not attempt to distinguish between

cleavage fragments and asbestos.102 He also acknowledged his prior testimony that

his analysts counted non-asbestiform cleavage fragment as asbestos, relying on the




100
       Although plaintiffs argued otherwise in their Daubert opposition brief (see
Pls.’ Asbestos Opp’n at 40-42 (ECF No. 9892)), Dr. Longo agreed that cleavage
fragments are not the same thing as asbestos (e.g., 7/24/19 Hr’g Tr. 569:15-20
(agreeing that “[a] cleavage fragment is not asbestos” and that “[a] cleavage
fragment is a crushed up piece of non-asbestiform rock”); see also 7/24/19 Hr’g
Tr. 571:9-573:4 (agreeing that the EPA, OSHA and ISO definitions of asbestos
exclude nonasbestiform minerals)).
101
      (E.g., id. 574:8-23 (agreeing that “long, thin cleavage fragments can actually
resemble asbestos fibers”); id. 576:23-577:3 (agreeing that “the ISO standard on
which [he] rel[ies]” states “that the crushing of non-asbestiform amphiboles
generally yields elongated fragments that [conform] to the definition of a[n]
[asbestos] fiber”).)
102
         (Id. 582:9-17 (testifying that his analysts “are not making that decision”).)


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EPA’s “counting rules.”103

         As Dr. Longo agreed, however, the “counting rules” come from the EPA’s

Asbestos Hazard Emergency Response Act (“AHERA”) regulations, which are

designed for asbestos remediation in school buildings, where there is no question

that the building previously contained asbestos.104 They are not designed to

distinguish between asbestos and cleavage fragments. Thus, Dr. Longo’s

application of the counting rules for purposes of detecting “asbestos” renders his

opinions speculative and unreliable.105 See, e.g., Hanson v. Colgate-Palmolive

Co., 353 F. Supp. 3d 1273, 1285-86 (S.D. Ga. 2018) (excluding asbestos-

contamination opinion where expert’s testing methodology was incapable of

distinguishing asbestos from non-asbestos particles); see also Zachary v.

103
      (Id. 579:20-580:11; see also id. 578:18-579:8, 581:17-582:21 (Dr. Longo’s
analysts “are not making that decision” as to whether any particle is asbestiform).)
Dr. Longo argued at the hearing that “[a]n analyst would not count” a cleavage
fragment as asbestos “if he knew somehow” that it was a cleavage fragment from
the outset (id. 579:9-19), but this is impossible to square with his repeated
testimony that the only criterion used to determine whether a particle was asbestos
when conducting TEM was application of the counting rules.
104
      (Id. 493:16-494:5, 583:9-585:1; id. 586:1-15 (agreeing that the AHERA
counting rules come into play only after “there has been a determination that the
school contained asbestos-containing materials”); see also Defs.’ Asbestos Mot. at
29-35 (ECF No. 9736-3) (fully explaining the genesis of the AHERA regulations
and why they are not applicable here).)
105
       Notably, the ISO protocol Dr. Longo relies on but did not fully follow (as set
forth in detail in defendants’ prior briefing), “in fact says that it is necessary to
discriminate between the asbestiform and non-asbestiform analog of these
minerals.” (7/24/19 Hr’g Tr. 580:19-23, 581:10-16.)


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Bridgestone/Firestone, Inc., No. 1:01-cv-531-GET, 2004 WL 5512956, at *3 (N.D.

Ga. Oct. 2, 2004) (excluding expert who performed tests “under conditions that

were not designed to approximate those of the accident in this case”).106

         The hearing also exposed the unreliability of Dr. Longo’s efforts to

overcome his inability to distinguish asbestos from cleavage fragments by claiming

that 93 percent of the particles his analysts detected in their MDL testing were

“bundles” of asbestos and thus could not have been cleavage fragments.107 This

highly convenient prevalence of “bundles” underscores the unreliable nature of Dr.

Longo’s opinions for two reasons.

         First, it contrasts with Dr. Longo’s testing in prior talc litigation, where he

106
       Dr. Longo purports to have attempted to confirm the mineral type of the
particles detected via TEM through Energy Dispersive X-ray Analysis (“EDXA”)
and Selected Area Diffraction (“SAED”) (see, e.g., 7/24/19 Hr’g Tr. 488:18-
499:4), but his analysts did not perform these steps reliably because, inter alia,
they used subjective visual approximations rather than quantitative data for the
former and failed to use multiple zone axis diffraction patterns when conducting
the latter (see Defs.’ Asbestos Mot. at 54-62, 66-72; Defs.’ Asbestos Reply at 28-
39 (ECF No. 10041)). Dr. Longo argued that the steps he omitted are not required
under the EPA’s AHERA methodology (see 7/24/19 Hr’g Tr. 504:1-508:13), but
that methodology should not have been used here, as just explained, cf. Hanson,
353 F. Supp. 3d at 1280-81 (explaining how complete EDXA and SAED analyses
are both required to prove asbestos detection in litigation).
107
       (7/24/19 Hr’g Tr. 592:22-25.) Dr. Longo has agreed that TEM “cannot tell
you if you identify a single fiber whether or not that particle is asbestiform.” (E.g.,
id. 588:8-24, 589:10-15.) He believes, however, that “bundles” of fibers are “by
definition” asbestos. (E.g., id. 589:25-590:5, 594:13-15.) As such, in his view,
characterizing particles as “bundles” allows him to avoid distinguishing between
asbestos and cleavage fragments.


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purported to detect roughly half individual fibers and half bundles.108 Such a

“sudden reversal” alone calls the reliability of Dr. Longo’s opinions into serious

question. See Fireman’s Fund Ins. Co. v. Canon U.S.A., Inc., 394 F.3d 1054, 1059

(8th Cir. 2005) (agreeing with district court’s conclusion that a “sudden reversal”

of opinion in response to new evidence that drew original opinion into question

“seriously undermines the reliability” of the opinion).

         Second, Dr. Longo’s newfound prevalence of “bundles” is also unreliable

because, as the hearing testimony made clear, he and his analysts – to whom Dr.

Longo delegated every aspect of the testing – have no objective way of

determining whether a particle is a single fiber or a bundle.109 Dr. Longo’s results

show that all four of his analysts only agreed once as to whether a particle was a

bundle,110 and the particles he now calls “bundles” are visually indistinguishable

from particles he formerly deemed to be single fibers.111 Faced with these


108
         (Id. 592:16-19 (53 percent of structures in pre-MDL report were bundles).)
109
       Dr. Longo’s testimony confirmed that he delegated every aspect of his MDL
testing to analysts at his laboratory. (See, e.g., id. 540:16-541:9.) Indeed, Dr.
Longo has “never personally tested a talc sample for asbestos from start to finish.”
(Id. 540:12-15.)
110
       (See Defs.’ Asbestos Mot. at 46-47.) Dr. Longo claims that overall, his
analysts agreed 72 percent of the time as to whether a particle was a single fiber or
bundle (7/24/19 Hr’g Tr. 525:22-25), but this falls well below the industry
accreditation standard, which requires that analysts agree 90 percent of the time
(see id. 603:10-15).
111
         (7/24/19 Hr’g Ex. 520A (Brennan Cert. Ex. 3) (comparison of images in pre-
                                                                                 (cont’d)


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discrepancies, Dr. Longo’s response – incredibly – is that “there is no right”

answer as to whether or not a particle is a bundle.112 This “anything goes”

philosophy is the antithesis of methodological science and thus cannot satisfy

Daubert. See, e.g., In re TMI Litig. Cases Consol. II, 911 F. Supp. 775, 795-96

(M.D. Pa. 1996) (excluding expert who used subjective techniques that “expose[d]

[his] methodology to a potentially high rate of error”).

         PLM. The hearing also confirmed that Dr. Longo’s PLM testing was

similarly unreliable. As an initial matter, Dr. Longo has never used PLM in

previous talc litigation because he believed that PLM was not an “appropriate”

method for testing talc for asbestos.113 Dr. Longo’s about-face – he now believes

that PLM is among “the best instruments for [analyzing talc] for asbestos”114 – is

yet another “sudden reversal of opinion” that calls the reliability of his opinions

into serious question. See Fireman’s Fund, 394 F.3d at 1059; see also, e.g., In re

Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig., No. 12-md-2342, 2015 WL

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MDL and MDL reports); see also 7/24/19 Hr’g Tr. 593:7-18, 594:16-595:8
(discussing these and similar images); Defs.’ Asbestos Mot. at 45 (comparison
showing that Dr. Longo’s “bundles” look identical to single fibers identified in
previous litigation).)
112
      (See 7/24/19 Hr’g Tr. 526:2-6 (“The way this is measured is not – does
everybody get it right because there is no right.”); see also id. 603:1-9 (similar).)
113
         (7/24/19 Hr’g Tr. 606:13-23.)
114
         (Id. 475:12-13.)


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7776911, at *16 (E.D. Pa. Dec. 2, 2015) (“It is improper for an expert to . . . mold[]

his methodology . . . to confirm his preconceived opinion.”), aff’d, 858 F.3d 787

(3d Cir. 2017).

         In any event, the hearing made clear that Dr. Longo’s PLM methodology,

like his TEM methodology, was replete with similar subjectivity and

reproducibility problems. For one thing, Dr. Longo’s method for determining how

much asbestos was in any PLM sample was to have his analyst visually compare

what he saw to internal reference charts.115 As Dr. Longo conceded at the hearing,

these charts were not produced, and neither the employee who designed them nor

the analyst who used them was made available to testify.116 This undisclosed

element of his method rendered Dr. Longo’s PLM analysis impossible to

replicate,117 a factor that favors exclusion, as this Court has previously recognized.

See, e.g., Bracco Diagnostics, Inc. v. Amersham Health, Inc., 627 F. Supp. 2d 384,

446 (D.N.J. 2009) (Wolfson, J.) (striking expert testimony where work product that


115
       (7/24/19 Hr’g Tr. 609:11-611:20 (confirming that the analyst conducting
PLM “compared” what he observed “against a weight percent standard” that Dr.
Longo’s lab had created).) Notably, the ISO protocol Dr. Longo relied on warns
that “the accuracy and reproducibility of [such] visual estimates is very limited”
(id. 613:17-20) and recommends a different procedure (“point counting”), which
Dr. Longo did not use (id. 609:11-610:6).
116
       (Id. 613:17-614:3, 615:16-22 (Dr. Longo stating that he “did not produce
that data”).)
117
         (Id. 614:4-615:22.)


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was “critical” for verifying accuracy was “never produced”).

         Even Dr. Longo’s own effort to “replicate” his PLM results was an utter

failure. As Dr. Longo conceded at the hearing, he sent his samples to a third-party

laboratory (J3) for “verification,” but that lab did not detect asbestos in any sample

via PLM.118 Thus, Dr. Longo’s only effort to verify his results showed instead that

he “could not reproduce his own results . . . using his own method.” In re Diet

Drugs, No. MDL 1203, 2001 WL 454586, at *13 (E.D. Pa. Feb. 1, 2001). Dr.

Longo offered several speculative explanations for this discrepancy, including that

his analyst spent significantly more time than the analyst at J3 (specifically, that

unlike the J3 analyst, his own analyst examined each sample for two-to-six

hours).119 But Dr. Longo’s testimony was disproven at the hearing because the

reports his analyst generated showed that he analyzed as many as 13 samples in a

day, meaning that he would have been working up to 78 hours a day if Dr. Longo’s

rationale were correct.120 Moreover, as the Court observed, Dr. Longo has not

investigated whether any of his explanations for the divergence between his and

J3’s results are correct, despite being aware of the issue since July 2018 and having


118
      (7/24/19 Hr’g Tr. 618:13-619:8 (confirming that J3 tested 22 samples and
did not detect asbestos, while Dr. Longo’s lab detected asbestos in eight of the
same samples).)
119
         (See, e.g., 7/24/19 Hr’g Tr. 623:22-625:6.)
120
         (See id. 625:8-628:8.)


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initially suggested follow-up testing.121 This further highlights the unreliable and

non-replicable nature of Dr. Longo’s analysis.

               2.     Dr. Longo’s Testing Is Irrelevant To General Causation
                      Because He Did Not Conduct Any Exposure Analysis.
         Dr. Longo’s testimony also confirmed that his opinions should be excluded

as irrelevant to causation because he did not conduct any sort of exposure analysis,

even though his laboratory has that capability.122 As a result, although Dr. Longo

believes that talc users sustain “significant exposure” to asbestos,123 all he can

actually say with respect to exposure is that the amount of asbestos he alleges to

have found in defendants’ talc is “ultra trace” – akin to “looking for a needle in a

haystack”124 – and “well below” both the one-percent-by-weight threshold the EPA

uses to define an “asbestos containing material” and OSHA’s permissible exposure

limit (“PEL”) of one fiber per cc.125 Nor has Dr. Longo undertaken any effort to


121
       (Id. 629:2-632:6 (the Court observing that Dr. Longo does not “have an
answer as to the differences” even though “[i]t has been a year”); see also id.
623:3-22, 624:23-625:7 (Dr. Longo called J3 analyst Lee Poye to discuss reasons
for divergence and has proposed ways to test hypothesized explanations).)
122
      (7/24/19 Hr’g Tr. 561:2-562:24, 565:1-6.) Similarly, Dr. Carson did not
attempt to compare the levels of asbestos he believes are in talc to ambient
background levels. (7/29/19 Hr’g Tr. 1341:22-1342:2.)
123
         (E.g., 7/24/19 Hr’g Tr. 561:2-4.)
124
         (Id. 560:9-11, 641:21-642:9.)
125
      (Id. 559:11-560:9, 563:2-20.) Dr. Longo has also previously testified that a
person who used a product containing less than one percent asbestos 20 times a
day for 40 years would not sustain “‘a very large exposure.’” (Id. 566:7-567:25.)


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refute the exposure analysis that was performed by defendants’ expert, Dr. Moore,

who demonstrated that, even ignoring the huge flaws in Dr. Longo’s detection

methods, the amount of asbestos he claims to have found could not pose a risk of

cancer.126 When asked about this analysis at the hearing, Dr. Longo expressed his

disagreement with it, but he also claimed that he “ha[s]n’t seen [Dr. Moore’s]

report” in the five months since it has been submitted to plaintiffs and “ha[s]n’t

done [a] study” to refute her findings.127

         Dr. Longo’s failure to conduct an exposure analysis is highly problematic

because it is a fundamental tenet of toxicology that “the dose makes the poison.”128

As such, courts have excluded general causation opinions that “ignore[] the

importance of . . . dose [and] duration of exposure.” Mallozzi v. EcoSMART

Techs., Inc., No. 11-CV-2884 (SJF) (ARL), 2013 WL 2415677, at *8 (E.D.N.Y.

May 31, 2013) (excluding a general causation opinion that brief inhalation of a

product containing 1% peppermint oil can cause disease because it was premised

126
       (Defs.’ Asbestos Mot. at 85 (citing Moore Rep. at 52-56 (Tersigni Cert. Ex.
C19)) (opining that even the highest amounts of asbestos that Dr. Longo claims to
have found in the Products would result in cumulative lifetime exposures that are:
(1) three times less than those associated with ambient, background exposure; (2)
at least 4,000 times below the lifetime asbestos concentration associated with the
OSHA PEL; and (3) at least 29,000 times below the level of tremolite asbestos
considered to be safe with respect to mesothelioma); Defs.’ Asbestos Reply at 47-
48 (same).)
127
         (See 7/24/19 Hr’g Tr. 564:1-25.)
128
         Toxicology Reference Manual at 636 (Tersigni Cert. Ex. A46).


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on literature studying the effects of topical application of pure peppermint oil); see

also Amorgianos v. Nat’l R.R. Passenger Corp., 137 F. Supp. 2d 147, 186-87, 190-

91 (E.D.N.Y. 2001) (excluding testimony of plaintiffs’ general causation expert in

part because the expert extrapolated from materially different exposure scenarios,

leaving an “analytical gap” between the literature and his conclusions), aff’d, 303

F.3d 256, 270 (2d Cir. 2002). These cases apply in spades here, because the

epidemiological studies showing an association between asbestos exposure and

ovarian cancer involve long-term exposure to huge quantities of asbestos in

industrial settings.129 There is thus a huge gulf between the relevant science and

the opinions of Drs. Longo and Carson, who are essentially offering “any

exposure” theories with respect to asbestos.130 See, e.g., Pluck v. BP Oil Pipeline

Co., 640 F.3d 671, 679-80 (6th Cir. 2011) (“[I]t is well-settled that the mere

existence of a toxin in the environment is insufficient to establish causation


129
       See, e.g., IARC 2012 Monograph at 256 (Tersigni Cert. Ex. A70) (noting
that the majority of studies regarding asbestos and ovarian cancer involved “heavy
occupational exposure”). (See generally Defs.’ Asbestos Mot. at 84-86; Defs.’
Asbestos Reply at 46-48.) In any event, as Dr. Diette explained, the most relevant
body of epidemiological literature is the literature regarding talc, because even if
talc contains asbestos, any effect of that asbestos would be “part of the
epidemiology.” (7/26/19 Hr’g Tr. 1189:8-1190:2.)
130
      (See 7/24/19 Hr’g Tr. 564:198-25 (Dr. Longo arguing that any asbestos
exposure from talc is “additional” to background exposure and thus not irrelevant);
7/29/19 Hr’g Tr. 1339:21-22 (Dr. Carson testifying that “[a]ny amount of asbestos
exposure to the ovary has the potential to cause ovarian cancer”).)


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without proof that the level of exposure could cause the plaintiff’s symptoms.”);

Boyer v. Weyerhauser Co., No. 14-cv-286-wmc et al., 2016 WL 705233, at *22-23

(W.D. Wis. Feb. 19, 2016) (striking asbestos experts who could not show “reliably

that non-occupational exposures were comparable to those in the occupational

setting, nor that the level of exposure met any scientifically recognized level to

contribute substantially to contracting lung cancer”).131

         In short, Dr. Longo’s opinions (and the asbestos-related opinions of

plaintiffs’ experts who piggyback on his report) would be inadmissible even if his

testing had been reliably conducted because he does not establish the presence of a

dangerous amount of asbestos in talc.

               Plaintiffs Failed To Present Reliable Evidence That The Heavy
               Metals Purportedly Present In The Products Are Capable Of
               Causing Ovarian Cancer.
         Several of plaintiffs’ experts have also attempted to establish biological

plausibility by opining that the Products contain heavy metals (i.e., cobalt,

chromium and nickel) that contribute to their purportedly carcinogenic nature. Dr.

Carson’s hearing testimony underscored that such a position is speculative and

unreliable.

         First, Dr. Carson’s testimony confirmed that there is no scientific evidence

131
       (See also generally, e.g., Defs.’ Asbestos Mot. at 83-84, 89-92 (collecting
cases rejecting “any exposure” opinions and causation opinions where alleged
exposure was not comparable to that in studies).)


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linking exposure to the alleged heavy metals with ovarian cancer. In fact, Dr.

Carson admitted at the hearing that none of the heavy metals has been identified as

carcinogenic to the ovary by IARC,132 and that there are no studies showing that

exposure to cobalt, chromium or nickel combined with talc increases the risk of

ovarian cancer.133 Dr. Carson nonetheless speculated that, because these metals

have been linked to other kinds of cancers, there is a “suspicion that the same

mechanism can operate in other tissue including ovarian epithelial tissue.”134 As

Dr. Carson freely acknowledged, however, mere suspicion is not tantamount to a

causal connection.135 And it is axiomatic that “[e]vidence . . . that suggests a

connection between . . . exposure and” one type of cancer “is not probative on the

causation of” a different form of cancer, Allen v. Pa. Eng’g Corp., 102 F.3d 194,

197 (5th Cir. 1996), as plaintiffs themselves have recognized in their briefing.136

         Second, Dr. Carson’s hearing testimony further established that plaintiffs’

experts’ heavy-metals theory of biological plausibility is separately excludable for

failure to consider dosage and exposure concentration. As Dr. Carson confirmed at


132
         (7/29/19 Hr’g Tr. 1359:22-25.)
133
         (Id. 1360:11-18.)
134
         (Id. 1439:22-24 (emphasis added).)
135
         (Id. 1439:1-1440:2.)
136
       (Pls.’ Bio. Plausib. Opp’n at 50 (ECF No. 9890) (arguing that “different
tissues react differently to carcinogens”).)


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the hearing, he does not know the amount of chromium, cobalt or nickel allegedly

contained in the Products.137 Nor could he point to any other expert who has such

knowledge.138 As a result, Dr. Carson admittedly did not conduct a dose-response

assessment.139 Such a failure is especially glaring given his admission at the

hearing that the trace metals purportedly present in talc are naturally present in our

bodies, in food, in drinking water, in bottled water and in vitamins.140 Indeed, Dr.

Carson could not answer whether the blood or tissue levels of any trace heavy

metals are higher in genital talc users as compared to non-talc users.141 For this

reason, too, his opinions are speculative and unreliable.142




137
         (7/29/19 Hr’g Tr. 1362:15-21, 1363:3-7, 1365:7-10.)
138
         (Id. 1366:5-9.)
139
         (Id. 1367:6-9.)
140
         (Id. 1363:20-1364:2.)
141
         (Id. 1364:18-24.)
142
       In his hearing testimony, Dr. Carson briefly addressed the theory that certain
fragrances in the Products contribute to their carcinogenic nature, but he stressed
that any such contribution “is minor.” (Id. 1274:4-10; see also id. 1306:24-
1307:4.) He also testified that his opinions regarding fragrances are reliant on the
opinion of another expert, Dr. Michael Crowley (see id. 1367:15-19, 1368:20-24),
essentially admitting that he engaged in improper parroting. See Dura Auto. Sys.
of Ind., Inc. v. CTS Corp., 285 F.3d 609, 614 (7th Cir. 2002) (expert “is not
permitted to be the mouthpiece of” another scientist).


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               Plaintiffs’ Experts’ Hypothesis That Talc Itself Is Carcinogenic
               Lacks A Legitimate Scientific Basis.

               1.    Plaintiffs’ Only Evidence That Talc Is Genotoxic Is
                     Inherently Unreliable And Inadmissible.
         The hearing also confirmed that Dr. Ghassan Saed’s methods were

unreliable and that his data do not support his conclusion that cosmetic talcum

powder is genotoxic and can cause ovarian cancer; indeed, as Dr. Neel testified,

Dr. Saed’s work does not “even address that question,” let alone answer it.143

                     (a)    The Hearing Confirmed That Dr. Saed’s Methods Were
                            Unreliable.
         The hearing first confirmed that Dr. Saed’s opinions are inadmissible

because: (1) Dr. Saed failed to follow his own methods; (2) he failed to use a

relevant dose; (3) he did not run his experiments in triplicate or otherwise replicate

them; and (4) his lab notebook was rife with errors.

         First, the hearing confirmed that Dr. Saed failed to follow his own

methodology. As Dr. Saed admitted at the hearing, he set out to test for cellular

transformation using a neoplastic transformation assay – which he thought would

be “critical in establishing [a] cause and effect relationship” – but never did so.144

Dr. Saed also conceded that the cell proliferation test that he did perform cannot

show transformation with any degree of “certain[ty],” since proliferation is a

143
         (7/23/19 Hr’g Tr. 303:5-10.)
144
         (See 7/22/19 Hr’g Tr. 58:8-12, 64:19-25, 121:2-19, 123:24-124:3.)


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common response to foreign bodies among non-cancerous cells.145 In addition, Dr.

Saed acknowledged departing from his own methodology in other ways as well,

for instance by failing to perform all of the tests for redox balance outlined in his

proposal and failing to perform single nucleotide polymorphism (“SNP”) testing

for BRCA mutations.146 Such departures from his own specified methods –

including the “critical” neoplastic transformation assay – bespeak a lack of

reliability and support exclusion. See, e.g., Amorgianos, 303 F.3d at 268

(affirming exclusion where expert “failed to apply his own methodology reliably”).

         Second, Dr. Saed failed to even ascertain, much less use, a relevant dose, as

the hearing further demonstrated. Dr. Saed admitted that he does not “know

whether the concentrations [he] used . . . compare to actual human exposure”

levels147 and volunteered that it would be “[v]ery hard to correlate the two.”148

Indeed, even if he wanted to test an appropriate dose, he could not have, since he

admitted that he does not know “the dose that women are exposed to in real

life.”149 Instead, Dr. Saed simply started with a dose that “kill[ed]” his cells, then




145
         (See id. 189:11-18, 190:6-19, 191:17-20.)
146
         (Id. 124:6-125:3, 132:4-134:3.)
147
         (Id. 148:6-10.)
148
         (Id. 146:11-16.)
149
         (Id. 147:10-11.)


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“tapered . . . down” until he found a “not toxic” dose, and used that.150 This, too,

merits exclusion. See, e.g., Bourne ex rel. Bourne v. E.I. DuPont de Nemours &

Co., 189 F. Supp. 2d 482, 498 (S.D. W. Va. 2002) (excluding expert who relied on

in vitro testing with “high doses” that were “‘far removed’ from the plaintiff’s

alleged exposure”).

         Third, Dr. Saed failed to adequately replicate his experiments. Although his

proposal stated that “[a]ll experiments w[ould] be performed in triplicate,” he did

not follow that aspect of his proposal either. Dr. Saed explained at the hearing that

instead of testing each cell line three times, he used “six different cell lines” and

tested each of them once.151 As the Court pointed out, “[t]hat’s not testing in

triplicate” because no individual cell line was tested multiple times.152 This

additional failure to follow basic scientific methods further underscores the

unreliability of Dr. Saed’s methods and opinions. See, e.g., Rovid v. Graco

Children’s Prods., Inc., No. 17-cv-01506-PJH, 2018 WL 5906075, at *5-6 (N.D.

Cal. Nov. 9, 2018) (excluding expert who failed to run “multiple tests” and thus

150
       (Id. 147:1-4, 147:17-148:2.) Dr. Saed also testified that the doses he
ultimately used were derived from those “published in the literature that talk about
testing talcum powder.” (Id. 50:5-16.) That is a dubious claim since, as discussed
in defendants’ reply in support of their motion to exclude Dr. Saed’s testimony, Dr.
Saed did not cite any of this literature to substantiate the doses he chose in his
Proposal. (Saed Reply at 10 n.12 (ECF No. 10040).)
151
         (7/22/19 Hr’g Tr. 152:2-5 (citation omitted); id.153:5-154:7.)
152
         (Id. 51:14-18.)


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could not “show that his results are reproducible or reliable”).

         Fourth, the hearing illustrated the shoddiness and unprofessionalism of Dr.

Saed’s lab notebook, which make it impossible to replicate his work.153 See

Hanson, 353 F. Supp. 3d at 1284 (excluding expert in part because “[b]y failing to

record” his methodology, he “ensured no other analyst could replicate his work and

test his findings”).

         In addition to all of the previously identified problems in Dr. Saed’s lab

notebooks, the hearing revealed for the first time a discrepancy in Dr. Saed’s

proliferation assay results that he could not explain. As explained at the hearing,

Dr. Saed’s lab notebook sets forth an eight-row “well plate design” for the assay,

the seventh and eighth row of which were designated for untreated ovarian cells

(wells G1-3) and talc-treated ovarian cells (wells H1-3).154 Oddly, however, Dr.

Saed’s raw data – the data he collected and analyzed for his 2019 publication –

contained an additional ninth row, reporting data from wells whose cell line was

not identified in the design or explained anywhere in Dr. Saed’s lab notebooks

(identified in pink):155



153
         (7/23/19 Hr’g Tr. 308:1-20.)
154
         (7/22/19 Hr’g Tr. 211:20-212:11.)
155
      (See SAED000001-97(color) at SAED000087(color) (Tersigni Cert. Ex.
B13); 7/22/19 Hr’g Tr. 199:21-203:7, 218:5-221:6.)


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                                      Well plate design




                                                          Raw data table




                                         Raw Data

         At the hearing, Dr. Saed struggled to explain the ninth row of the raw data

table, offering various and incomprehensible responses, including the possibility

that it might have been derived from “controls,” ultimately prompting the Court to

remark that “[e]very minute we go on it gets more confusing.”156 This confusion

was compounded by a third table in the lab notebook reflecting Dr. Saed’s reported

data, which presented the data in still a different manner that did not correspond to

either the well plate design or the raw data table. Specifically, as noted above, the


156
         (See 7/22/19 Hr’g Tr. 212:16-217:13.)


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well plate design suggested that the seventh and eighth rows of the raw data table

should have corresponded to untreated and treated normal ovarian cells,

respectively, while Dr. Saed’s testimony suggested that the ninth row contained

extra data that could be disregarded. But the reported data table treated the eighth

and ninth rows of the raw data table as containing the results for untreated and

treated normal ovarian cells, respectively, and disregarded the data in the seventh

row of the raw data table:




                 Raw data table
                                                           Reported data table

         Dr. Saed was unable to explain this discrepancy either,157 which is extremely

concerning because, if the rows in the raw data table indeed correlate with the well

plate design – i.e., if the seventh and eighth rows in the raw data table reflect the

testing supposedly performed in the seventh and eighth rows of the well plate –

then the proliferation results for the untreated cells are higher than the results for

treated cells in the raw data (in contrast to the reported data, which show the

157
         (See id. Tr. 213:24-217:11, 218:5-221:6.)


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opposite):




This would mean that the proliferation assay results reported in Dr. Saed’s article

are backwards and that talc actually decreased proliferation, rather than increasing

it. In short, it is utterly impossible to verify Dr. Saed’s purported conclusions

regarding proliferation, even against his own data, and there is a significant

probability that he reported inaccurate data in his published article.158

         The hearing also shed further light on other lab notebook irregularities that
158
       (See 7/22/19 Hr’g Tr. 220:11-221:6.) To the extent plaintiffs suggest that
these errors are irrelevant because Dr. Saed’s work has been subjected to peer
review, that argument should be rejected because the peer-review process does not
involve a review of lab notebooks, but instead assumes the integrity of the raw data
underlying a submission. In any event, the peer-review process was also irregular.
Most notably, the hearing confirmed that Dr. Saed’s conflict-of-interest disclosures
were insufficient, if not downright fraudulent. Dr. Saed falsely told Gynecologic
Oncology that he had no conflicts of interest despite having been paid tens of
thousands of dollars by plaintiffs’ counsel (see id. 222:22-223:6), and while he
mentioned “consulting” to Reproductive Sciences, he failed to tell that journal that
he was consulting for plaintiffs’ counsel or that the matter was ongoing (see id.
225:9-21).


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defendants have identified in prior briefing. For example, the averages calculated

in several places in the lab notebook appear to be wrong.159 At the hearing, Dr.

Saed contended for the first time that these were not errors at all, but rather the

result of a computer formula that disregards “outliers.”160 But this explanation

cannot be squared with Dr. Saed’s deposition testimony, in which he dismissed the

same averages as a “typo,”161 and never mentioned that the process was

computerized.162 And even if his hearing testimony was truthful, any such

computerized formula is not set forth in the lab notebook, has never been shared

with defendants and could not be coherently explained by Dr. Saed at the hearing,

making his work all the more impossible to replicate.163

         Finally, Dr. Saed had to admit once again that data in his lab notebooks were

whited out and that the notes were not written contemporaneously with the work

they purport to memorialize.164 Dr. Saed himself acknowledged that using white-


159
         (See Saed Mot. 18-19, 54 (ECF No. 9736-2).)
160
         (See 7/22/19 Hr’g Tr. 22:19-24:2.)
161
         (2/14/19 Saed Dep. 450:21-451:14 (Tersigni Cert. Ex. B19).)
162
         (See 7/22/19 Hr’g Tr. 184:14-187:12.)
163
      (See id. 187:25-188:11.) As the Court pointed out, whatever formula Dr.
Saed uses to exclude outliers is counterintuitive at best. For instance, Dr. Saed
excluded 9.98 from the set of 9.98, 10.50, 11.68, even though 11.68 is more than
twice as far away from the middle value. (Id. 24:19-25:2.)
164
      (Id. 36:8-12 (“Q: Doctor, in Exhibits G and H, there are pages that have
white-out. Correct? A: Yes. Your Honor, this is from the new hired lady.”); id.
                                                                                  (cont’d)


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out in a lab notebook is not proper laboratory practice,165 and Dr. Neel testified that

he has “never seen anyone use white-out in [his] 30 years as a faculty

member.”166 The use of white-out was particularly concerning because the whited-

out portions contained data that are at the heart of Dr. Saed’s analysis, including

the actual product being reviewed, the methodology utilized, and the dates on

which analyses were conducted.167 Dr. Saed contended that the white out only

covered up his “methodology” and not his “original data,” but this assertion

ignores the fact that original data, including the identity of the product and the

dates of entry, were altered, and in any event, whiting out “methodology” would be

no virtue because Dr. Saed’s methods are precisely the focus of this Daubert

proceeding.168

         Dr. Saed also admitted that pages were ripped out of his lab notebooks,


________________________
(cont’d from previous page)
168:19-169:17 (admitting lab notebook entries were not all “prepared at the time
that the work was done”).)
165
         (Id. 177:17-23, 178:12-17.)
166
         (7/23/19 Hr’g Tr. 308:21-24 (emphasis added).)
167
        (7/22/19 Hr’g Tr. 178:25-179:7 (“[Q:] [Y]ou see there is an entry where
there is white-out, and the words Johnson & Johnson are written over at the white-
out. . . . That has to do with what product is being reviewed. Correct? A: Yes.”);
id. 180:6-10 (“Q: That’s a methodology? A: Yes. Q: It is whited out and those
words appear over it. Right? A: Yes.”); id. 182:6-183:8 (Dr. Saed admitting that
dates were whited out and altered).)
168
         (Id. 178:2-11.)


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which he acknowledged is “very bad laboratory conduct,”169 and that entries in his

lab notebooks were not contemporaneous.170 When pressed about dates by the

Court, Dr. Saed admitted that he does not have any memory of when things were

entered.171 Although Dr. Saed attempted to blame these departures from standard

practices on a “research assistant” who “is always [making] mistakes,” he also

testified that he, not his research assistant, retains “ultimate responsibility for the

content” of his lab notebooks.172

         And finally, there is still no explanation for how Dr. Saed’s initial reports

that he had treated cells with talc for 48 hours conveniently changed to 72 hours

after a reviewer for Gynecologic Oncology expressed doubt that exposure could

cause mutations in such a short time period. When the Court questioned Dr. Saed

about this issue, he claimed that there was “an error in the actual manuscript,”


169
       (7/22/19 Hr’g Tr. 33:17-24 (“[W]e have a new research assistant from
China, and she was not familiar with the practice, normal practice of lab
notebooks. She wanted to keep everything related to talcum powder in one
notebook. So she started a different project in those two pages. So she decided to
take them out. I instructed her not to do it. This is very bad laboratory conduct.”).)
170
         (Id. 168:19-169:7.)
171
       (Id. 176:12-14; see also id. 176:19-25 (“Q: With regard to other entries in
the notebook that have date, can you tell whether those pages were created on the
dates listed on the page or whether they were created later but backdated to the
date the work occurred? A: I will try. I don’t know. I can’t tell all the time.”).)
172
       (Id. 182:21-23; id. 37:3-5.) In any event, if Dr. Saed’s opinions are derived
from an unreliable methodology, it is irrelevant who bears the blame for that
unreliable methodology.


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which he apparently attributed to unnamed “trainees like clinical residents and

fellows.”173 But this testimony does not explain why Dr. Saed repeatedly

referenced 48 hours of treatment time – not only in the manuscript, but also in his

report and multiple abstracts.174

         In sum, Dr. Saed’s failure to adhere to basic rules concerning recordation of

data, along with his lax and unscientific approach to his work, make it impossible

to evaluate, let alone replicate, his purported experiments and call into serious

question the integrity of his procedures and claimed results.

                      (b)   The Hearing Also Confirmed That Dr. Saed’s Results
                            Would Not Support His Opinions Even If He Had
                            Employed Reliable Methods.
         The hearing also confirmed that, even ignoring the serious methodological

errors and lapses in his work, Dr. Saed’s results would not support his conclusion

that there is a biologically plausible mechanism by which talc could cause ovarian

cancer for two reasons: (1) Dr. Saed’s in vitro experiments could not, whatever

their results, show that talc is carcinogenic in living animals, much less in human

beings, something Dr. Saed himself ultimately admitted; and (2) Dr. Saed did not

even show that talc is carcinogenic in a petri dish.

         First, Dr. Saed failed to demonstrate that any claimed effects he produced in


173
         (Id. 38:8-39:5.)
174
         (See id. 157:18-164:10.)


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vitro would occur in vivo, meaning that his results “remain one step removed”

from what would be necessary to support a causation opinion. In re Human Tissue

Prods. Liab. Litig., 582 F. Supp. 2d 644, 663 (D.N.J. 2008).

         It is a matter of basic science that cell transformations in a petri dish do not

indicate a similar effect in the human body. As Dr. Neel explained in unrebutted

and unchallenged testimony, some cells “behave in a semi-transformed way” in

vitro “but do not form tumors” in animals or humans.175 Thus, it cannot simply be

assumed from biological effects in a petri dish that the same effect would be

produced in humans. Dr. Saed essentially agreed with this principle at the hearing.

Although he filibustered when questioned, he admitted having previously testified

that he has never in his ordinary work “classified a substance as a carcinogen

based on the result of an in vitro model” alone without in vivo replication.176 And


175
         (7/23/19 Hr’g Tr. 307:9-13.)
176
      (7/22/19 Hr’g Tr. 94:7-14.) This was just one of more than 50 instances in
which plaintiffs’ experts were impeached with their own prior statements during
the hearing. (Saed: 7/22/19 Hr’g Tr. 85, 86, 94, 95 , 117, 122, 138, 159-60, 166-
67, 168-69, 174, 177, 185-86, 190; Longo: 7/24/19 Hr’g Tr. 546, 557, 567, 569,
578-79, 588, 613; McTiernan: 7/25/19 Hr’g Tr. 805-06, 844-45, 856-57, 861-62,
913; Carson: 7/29/19 Hr’g Tr. 1327, 1330, 1333-34, 1336, 1343, 1344-45, 1350-
53, 1361-62, 1364, 1366, 1368, 1369, 1377, 1378-79, 1381, 1402, 1410-11, 1416;
Clarke-Pearson: 7/30/19 Hr’g Tr. 1574, 1576, 1577, 1578, 1627, 1650, 1678,
1691, 1726.) By contrast, plaintiffs attempted to impeach defendants’ experts only
a handful of times, and none of these efforts was successful. (E.g., 7/23/19 Hr’g
Tr. 316-18 (attempted impeachment of Dr. Neel as to which the Court stated that “I
think we’re looking at different things” and that there was a “disconnect” between
the question posed at the hearing and the supposedly contrary deposition
                                                                                     (cont’d)


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he admitted that an in vivo model would “enhance[]” his results177 – an opinion

shared by those who reviewed his paper and rejected it in part because it lacked

such a model, as he acknowledged.178

         When pressed, Dr. Saed remarkably stated that he is simply “not interested

in the in vivo effect” of talcum powder.179 This assertion contradicts his deposition

testimony that the only reason he did not perform animal studies was a lack of time

and money180 and that he was “planning to do more work” that included animal

studies,181 as well as his statement to the press in June that his “next project will

involve injecting talcum powder directly into rats’ reproductive systems,” which he

said he “‘[h]ope[s] . . . will confirm [his] findings.’”182 Dr. Saed’s contradictory

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testimony); 7/31/19 Hr’g Tr. 1863-64 (attempted impeachment of Dr. Saenz as to
which the Court remarked about the supposedly impeaching deposition colloquy,
“That is a different question. Perhaps you have the wrong cite.”).)
177
         (7/22/19 Hr’g Tr. 98:2-4.)
178
      (Id. 139:20-23 (noting reviewer comment that “cell line studies were not
convincing”).)
179
         (Id. 98:19-20.)
180
         (1/23/19 Saed Dep. 50:10-13 (Tersigni Cert. Ex. B12).)
181
         (2/14/19 Saed Dep. 546:7-18.)
182
       Richards, Research Shows How Talc Powder May Change Ovarian Cells,
Cancer Therapy Advisor, June 18, 2019, https://www.cancertherapyadvisor.com/
home/cancer-topics/gynecologic-cancer/talc-powder-may-change-ovarian-cancer-
cells-new-research/. The same article quotes Dr. Paolo Boffetta, a co-author of the
Berge meta-analysis, explaining that “we don’t know if the same thing happens in
vivo in an actual woman’s ovary.” Id.


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and opportunistic statements around this question highlight both that he recognizes

that such studies are required to validate his thesis and that he is (rightly) fearful

that they will not do so, strongly suggesting that he has strategically avoided

conducting them before this Daubert process concludes. This, too, supports

exclusion of his opinions. See Hanson, 353 F. Supp. 3d at 1285-87 (excluding

expert who “failed to perform . . . final step” of testing that might have supported

or undermined his conclusions).

         Nor did Dr. Saed’s testimony at the hearing identify any existing animal

studies that could plug the gaping hole in his own work. To the contrary, he

admitted having relied on only a small portion of the relevant animal studies,183

two of which were cited in his report and the third referenced in his deposition.184

And the hearing confirmed that none of these studies is even relevant to, much less

supportive of, Dr. Saed’s conclusions. Dr. Saed admitted that the first study in his

report, a 1969 study by Graham & Graham, does not mention talc at all, but instead

is about asbestos exposure.185 As for the second, Dr. Saed’s report cited a 2004

study by Langseth & Kjærheim that was not about animals at all. At the hearing,




183
         (7/22/19 Hr’g Tr. 102:17-22.)
184
         (See id. 109:15-110:4.)
185
         (See id. 103:22-25.)


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Dr. Saed said he actually meant to cite a 2008 study by Langseth et al.,186 but Dr.

Saed did not know whether that was an animal study either, and it is not.187

Accordingly, there is no basis to infer animal or human carcinogenicity from Dr.

Saed’s results, and his opinion should thus be excluded for lack of fit as well.

         Second, the hearing also confirmed that Dr. Saed’s findings do not even

establish carcinogenic potential at an in vitro level. Most strikingly, the hearing

revealed that plaintiffs’ own experts do not believe Dr. Saed has shown

carcinogenesis in vitro. Indeed, Dr. Clarke-Pearson explained to the Court that Dr.

Saed “stopp[ed] short” of showing “malignant transformation.”188

         The hearing also confirmed that the biomarkers Dr. Saed purportedly

observed are entirely irrelevant to the development of cancer, by his own

admission. Dr. Saed tested the impact of talc on seven SNPs. But he was forced to

186
         (See id. 106:13-20.)
187
      (See id. 109:2-8; see also Langseth 2008 (Tersigni Cert. Ex. A88).) At his
deposition, Dr. Saed attempted to bolster his opinions with reference to a 1993
animal study sponsored by the National Toxicology Program. (1/23/19 Saed Dep.
194:25-196:8; see also 7/22/19 Hr’g Tr. 109:13-18.) In fact, that study showed no
increased risk of ovarian cancer, see Nat’l Toxicology Program, Toxicology and
Carcinogenesis Studies of Talc in F344/N Rats and B6C3F1 Mice (Inhalation
Studies) (1993) (Brennan Cert. Ex. 4), and to the extent it suggested increased risk
of other cancers, the FDA determined that, “because of serious flaws” in the
study’s data, it has “no relevance to human risk,” see FDA Denial Letter at 3-4
(Tersigni Cert. Ex. A89).
188
       (7/30/19 Hr’g Tr. 1544:14-17.) Beyond this, Dr. Clarke-Pearson confirmed
that no other published study testing talc treatment of cells has observed
“cancer . . . in a cell culture.” (Id. 1649:3-14.)


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admit at the hearing that he previously published that these seven SNPs had “no

association with ovarian cancer,”189 and his pre-litigation conclusion has not been

“disproven” since.190 As Dr. Neel explained, Dr. Saed’s old opinion is indeed

correct: none of the SNPs tested for this litigation is among the “about 100” that

have been “associated” with ovarian cancer in “large scale genetic association

studies called GWAS.”191

         Dr. Saed’s oxidative stress results likewise fail to provide any support for his

conclusions about ovarian cancer. As Dr. Saed had to acknowledge at the hearing,

one of the Gynecologic Oncology reviewers expressly commented that Dr. Saed

did “not support[]” his claim that “oxidative stress is a key mechanism to the




189
         (7/22/19 Hr’g Tr. 131:20-24.)
190
      (Id. 135:10-16.) Dr. Saed also acknowledged that an article he co-authored
and had relied on previously for a supposed association between the CAT SNP and
ovarian cancer had in fact studied an association between the SNP and ovarian
cancer survival, not development of the disease. (Id. 131:5-24.)
191
       (7/23/19 Hr’g Tr. 304:4-305:18.) Dr. Saed’s SNP findings should be
rejected for the independent reason that they are “completely inconsistent with
everything we know about modern molecular biology.” (Id. 305:19-306:1.) As
Dr. Neel explained, “it is impossible . . . for any substance” to recode “a particular
locus” of DNA “within 48 to 72 hours.” (Id. 306:14-17 (emphasis added); see also
Rejection Letter at 4 (Tersigni Cert. Ex. B23) (referring to the changes Dr. Saed
purported to find as “surprising”).) Dr. Saed all but admitted as much at his
deposition and at the hearing, acknowledging that he knows of no other substance
reported to cause these types of mutations that quickly. (See 7/22/19 Hr’g Tr.
164:15-165:21; 1/23/19 Saed Dep. 252:3-7.)


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initiation and progression of ovarian cancer.”192 Nor does any other literature. At

the hearing, Dr. Saed could not name a single study “that concludes that oxidative

stress . . . causes ovarian cancer”193 despite having been alerted to the need for such

support by the Gynecologic Oncology reviewer nearly a year before the hearing.

And he ultimately admitted that while “[o]xidative stress . . . has been observed in

ovarian cancer patients,”194 “[a]ssociation is different than causation.”195

         Not only are Dr. Saed’s oxidative stress results irrelevant, but they are also

contrary to the very research that plaintiffs have used to buttress them. As Dr.

Neel explained, while plaintiffs have cited Buz’Zard & Lau 2007 as supposedly

supporting Dr. Saed’s findings, that study found that reactive oxygen levels “were

actually lower in the treated cells than in the control cells,” and it showed none of

the “proliferation which Dr. Saed claims” to have found.196 Similarly, Dr. Neel

explained that the paper – Shukla, et al. 2009 – found no changes in gene

expression in cells exposed to talc, meaning it supported the conclusion that talc

was “essentially . . . biologically inert.”197


192
         (7/22/19 Hr’g Tr. 139:25-140:6.)
193
         (Id. 141:4-142:10.)
194
         (Id. 142:24-143:1.)
195
         (Id. 141:15.)
196
         (7/23/19 Hr’g Tr. 310:24-33:7.)
197
         (Id. 311:17-24.)


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         The hearing also demonstrated that the elevated levels of CA-125 that Dr.

Saed claimed to find do not support his causation opinions. Dr. Saed admitted that

CA-125 “is not used to diagnose” ovarian cancer,198 and when pressed by the

Court, he could not name a single study “showing an association between elevated

CA-125 levels and an increased risk of ovarian cancer.”199 As Dr. Cheryl Saenz

explained, although CA-125 can be elevated in women with ovarian cancer, it is “a

response marker,” not a protein involved in “initiating the cancer,” and in most

women, CA-125 levels are only elevated after cancer has progressed to Stages III

or IV.200

         Finally, Dr. Saed conceded at the hearing that his measurement of alleged

cell proliferation (which is, in any event, highly suspect, as discussed above) was

insufficient to demonstrate carcinogenicity in vitro, because although increased

proliferation offers an indirect “indication” that cells may undergo neoplastic

transformation, such transformation remains far from “certain.”201 As Dr. Saed

recognized, healthy cells “can experience a temporary increase in cell proliferation



198
         (7/22/19 Hr’g Tr. 144:23-145:1.)
199
         (Id. 145:16-20.)
200
      (7/31/19 Hr’g Tr. 1846:9-1847:7 (emphasis added); see also 7/23/19 Hr’g
Tr. 313:6-9 (Dr. Neel explaining “[t]here is no evidence . . . that [CA-125] is
involved in the causation of the ovarian cancer”).)
201
         (7/22/19 Hr’g Tr. 191:17-20.)


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in response to” foreign agents like talc,202 and “temporary . . . proliferation . . . is a

normal response of all normal cells to agents.”203

         For all of these reasons, Dr. Saed’s findings cannot provide the necessary

“evidence to carry [Dr. Saed] all the way down the[] causal chain” to his ultimate

conclusions on biological plausibility or causation. In re Rezulin Prods. Liab.

Litig., 369 F. Supp. 2d 398, 426-27 (S.D.N.Y. 2005).

               2.     Plaintiffs’ Experts Also Lack Scientific Support For The
                      Theory That Talc Causes Cancer Through Inflammation In
                      The Fallopian Tubes And Ovaries.
                      (a)   Plaintiffs’ Experts Lack Reliable Evidence That
                            Externally-Applied Talc Reaches The Fallopian Tubes
                            And Ovaries.

         The hearing also demonstrated that plaintiffs’ experts lack any reliable

evidence for a fundamental underpinning of all their biological plausibility theories

– i.e., that talc applied externally to a woman’s perineum could make it to the

ovaries or fallopian tubes in the first place.204

         First, the hearing confirmed that the theory that talc sprinkled on the

external perineum can enter the vagina and migrate upward – against gravity,

vaginal mucus and menstrual fluid – all the way through the vagina, the cervix, the

uterus and the fallopian tubes, is not supported by anything other than the experts’
202
         (Id. 189:11-18.)
203
         (Id. 190:6-19 (emphasis added).)
204
         (See generally Defs.’ Bio. Plausib. Mot. at 18-47 (ECF No. 9736-1).)


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own ipse dixit, and therefore must be excluded. See, e.g., Gen. Elec. Co. v. Joiner,

522 U.S. 136, 146 (1997). Dr. Clarke-Pearson conceded as much at the hearing,

acknowledging that the carbon particle studies he relies on involved the insertion

of particles into the vaginas of supine women who were given drugs to foster

migration.205 In fact, Dr. Clarke-Pearson agreed that no human or animal studies

“demonstrate the migration of any particulate matter,” much less talc, “from the

external perineum . . . to the ovaries” or fallopian tubes.206

         Without studies showing that talc applied perineally actually reaches the

ovaries, plaintiffs’ experts were left to provide utterly nonsensical hypotheses for

how talc might reach the ovaries. In particular, Dr. Carson testified that “the

female reproductive system is essentially an open channel,”207 and that “vaginal

installation” is thus “tantamount to perineal exposure.”208 But Dr. Carson admitted

he has only studied the matter “casually,” and he could not cite a single source to

support his open-channel theory.209 As Dr. Saenz explained, Dr. Carson’s theory


205
         (7/30/19 Hr’g Tr. 1663:9-1665:5.)
206
      (Id. 1665:25-1666:25 (agreeing that “[n]one of the articles that [he] cite[s] in
support of [his] opinion regarding migration looked at whether talc can migrate
from perineal application through the reproductive organs to the ovaries”).)
207
       (7/29/19 Hr’g Tr. 1279:3-6.) Dr. Clarke-Pearson similarly testified that
there is “no lid or door” between the vagina and the “cervix, uterus, fallopian
tubes.” (See 7/30/19 Hr’g Tr. 1559:9-16.)
208
         (7/29/19 Hr’g Tr. 1399:4-20.)
209
         (Id. 1400:2-4, 1400:21-1401:1.) The hearing also revealed that Dr. Carson is
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makes no sense because the genital tract is self-evidently not “an open conduit.”210

After all, when a woman “swim[s] in the ocean, [she] do[es not] get out of the

water and have a big gush of ocean water come out of [her] vagina.”211

         Finally, plaintiffs’ experts’ reliance on Heller 1996 to support the migration

theory further shows that their opinions are unreliable, as testimony at the hearing

also clarified.212 For example, Dr. Carson stated on direct examination that this

study “showed perineal cosmetic talc usage and the relationship of talc being found

in ovarian specimens.”213 But he agreed on cross-examination that no such

“relationship” was demonstrated; rather, the study found talc in the ovaries of all

participants regardless of whether they used talc, and the “‘quantity . . . detected in

the study did not correlate well with the reported exposure.’”214 As Dr. Saenz

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merely speculating in contending that the ovaries are susceptible to talc-induced
cancer because they “lack” an “intrinsic elimination system.” (Id. 1404:8-11.) Dr.
Carson contended that talc can “stall[] and sequester[]” in the ovaries (id. 1403:25-
1404:7), but he acknowledged that he had “not conducted any tests” or cited any
literature to support his theory (id. 1404:12-1405:4).
210
         (7/31/19 Hr’g Tr. 1889:7-10.)
211
         (Id. 1889:10-13.)
212
       (See 7/30/19 Hr’g Tr. 1671:7-1672:13 (Dr. Clarke-Pearson confirming that
he cites Heller 1996 to support migration and arguing that it “showed talc particles
in the ovaries”); 7/29/19 Hr’g Tr. 1283:25-1284:10 (Dr. Carson identifying Heller
1996 as “one paper that I’ve cited, that shows the presence of talc within ovarian
tissue,” supporting “a proposed mechanism for its insertion into the ovaries”).)
213
         (7/29/19 Hr’g Tr. 1280:19-21.)
214
         (Id. 1372:19-1373:7.)


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explained, what this study shows is that “perineal application itself does not

account for finding talc in the ovaries.”215

         Second, plaintiffs’ experts’ testimony confirmed that not even they believe

that the theory that talc somehow travels to the ovaries after being inhaled is

scientifically viable. On direct examination, Dr. Carson volunteered that inhalation

is merely a “secondary route of exposure” that is “extremely minor” and would

lead to “very insignificant” exposure.216 Dr. Clarke-Pearson offered a similarly

tepid endorsement, characterizing inhalation as “very unlikely,” and a “plausible”

but not “probable” mechanism for migration.217 And even if these experts’

testimony were not construed as fully disavowing the inhalation theory, they

otherwise confirmed that there is no research supporting it.218 As the Court


215
       (7/31/19 Hr’g Tr. 1832:25-1833:9.) Plaintiffs and their experts attempted to
resuscitate their reliance on Heller 1996 by postulating that the non-talc users in
the study were diapered with talc as infants. (See id. 1876:4-16 (questioning Dr.
Saenz on this); 7/30/19 Hr’g Tr. 1672:19-22 (Dr. Clarke-Pearson speculating that
participants “may have gotten talc exposure when they were babies”).) But as Dr.
Saenz explained, “if they were diapered with baby powder, they are now of the age
that at least 25 years have passed and we would expect to see in their ovaries either
inflammation or ovarian cancer, if, indeed, that is the mechanism by which talc is
inducing ovarian cancer.” (7/31/19 Hr’g Tr. 1957:7-13.)
216
         (7/29/19 Hr’g Tr. 1282:20-1283:3 (emphases added).)
217
        (7/30/19 Hr’g Tr. 1563:16-1564:1, 1676:24-1677:1, 1694:10-15.) Dr.
Clarke-Pearson additionally stated that he would find the inhalation theory even
less likely if there is no asbestos in talc. (Id. 1694:24-1695:1.)
218
       (See, e.g., 7/29/19 Hr’g Tr. 1369:14-17, 1369:18-24 (Dr. Carson confirming
that he knows of no studies supporting inhalation theory and has not conducted his
                                                                                  (cont’d)


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suggested, plaintiffs’ experts were just “throwing out . . . possibilities.”219

         In sum, the hearing confirmed that plaintiffs’ experts’ migration theories are

speculative and ultimately, nonsensical, rendering their general causation opinions

all the more unreliable.

                        (b)   Plaintiffs’ Experts Lack Scientific Evidence That Talc
                              Causes Chronic Inflammation.

         The hearing also showed that plaintiffs’ experts do not have reliable

evidence that talc itself causes chronic inflammation in the fallopian tubes or

ovaries.220

         No expert could identify a study that supported this hypothesis. For

example, Dr. Clarke-Pearson agreed that he was not aware of a single published

study that supports his opinion that perineal talc use causes chronic

inflammation.221 He also conceded that he does not know the dose at which talc

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own research on the issue; studies have merely “alluded to the possibility of
inhalation being a secondary route of talc exposure to the ovaries”); id. 1371:2-9
(Dr. Carson claiming that inhalation is supported by “multiple speculation” in
various articles).)
219
         (See id. 1371:10-13.)
220
         (See generally Defs.’ Bio. Plausib. Mot. at 49-54.)
221
       (7/30/19 Hr’g Tr. 1653:13-17 (“Q. And you cannot cite to any published
study that supports your opinion that any amount of talc a woman uses perineally
leads to chronic inflammation. Correct? A. That’s correct.”).) Dr. Zelikoff, who
did not testify at the hearing, likewise testified at her deposition that she is unaware
of any study reporting inflammation in perineal talc users. (See Zelikoff Dep.
357:22-358:4.)


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can purportedly cause chronic inflammation leading to cancer.222 As a result, the

hearing confirmed that Dr. Clarke-Pearson is offering what is essentially an “any

exposure” opinion – i.e., that any amount of talc that a woman uses can cause

chronic inflammation leading to ovarian cancer.223 As noted above (see pp. 42-43),

courts routinely find such opinions unreliable.

         Dr. Carson, too, was unable to point to studies showing that talc causes

chronic inflammation. Instead, he hypothesized that talc can become

“sequestered” during ovulation, when the emission of an egg ostensibly “leaves an

open wound on the surface of the ovary” in which talc can become trapped during




222
      (7/30/19 Hr’g Tr. 1651:6-12 (Dr. Clarke-Pearson does not “know th[e]
threshold” below which talc exposure is safe and has “not identified how much
talcum powder must reach a woman’s ovaries for her to undergo chronic
inflammation that leads to cancer”); see also id. 1650:7-14, 1651:18-21.)
223
       (Id. 1651:13-17 (Dr. Clarke-Person testifying that “any amount of talcum
powder that a woman uses” “increases the risk of causing ovarian cancer”); see
also id. 1651:22-1652:24 (Dr. Clarke-Pearson testifying that a hypothetical product
with 1% talc and 99% cornstarch could cause chronic inflammation leading to
cancer).) Dr. McTiernan similarly opined that “one piece of one application of
talc” could potentially cause inflammation leading to ovarian cancer. (7/25/19
Hr’g Tr. 795:13-25.) Aside from being inherently unreliable, these “any exposure”
opinions are impossible to square with studies finding no association between the
use of diaphragms or condoms dusted with talc and ovarian cancer. They also
contradict plaintiffs’ experts’ previously stated opinions that studies addressing talc
on diaphragms or condoms are irrelevant because such use does not result in the
same exposure as daily perineal use. (See, e.g., Clarke-Pearson Dep. 215:9-17
(Tersigni Cert. Ex. B10).)


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the healing process, setting the stage for inflammation.224 But when pressed by the

Court to cite literature in support of such a theory, he could only reference Heller

1996 and Cramer 2007 – neither of which even describes (much less provides

evidence for) such a process.225 As to the inflammation theory more generally, Dr.

Carson conceded that a study he cited for the proposition that talc causes

inflammation (Okada 2007) addressed neither talc nor ovarian cancer.226 And he

agreed that Heller 1996, discussed above, which specifically looked at talc in

human ovarian tissue, did not show any inflammation associated with the presence

of talc.227

         Unable to anchor his opinions to any human studies, Dr. Carson also pointed

to several studies reporting that talc caused foreign body reactions in animals. But


224
       (7/29/19 Hr’g Tr. 1283:4-1284:18.) Notably, in the talc litigation in New
Jersey state court, Judge Johnson rejected the same hypothesis as lacking reliable
support, citing the concession of plaintiffs’ expert Dr. Graham Colditz that “there’s
got to be continuing studies to understand this whole process better.” Carl v.
Johnson & Johnson, Nos. ATL-L-6546-14, ATL-L-6540-14, 2016 WL 4580145,
at *16-18 (N.J. Super. Ct. Law Div. Atl. Cty. Sept. 2, 2016).
225
       Cramer 2007 (Tersigni Cert. Ex. A24) posited that talc might be sequestered
in lymph nodes and cause immune dysregulation there, not that ovulation creates
holes in the ovary that are filled by talc. Heller 1996 (talc) (Tersigni Cert. Ex.
A60) does not mention sequestration at all.
226
      (7/29/19 Hr’g Tr. 1380:1-1383:1 (Dr. Carson cites Okada 2007 for the
proposition that talc “‘causes inflammation and fibrotic reaction including the
chemotaxis of inflammatory immune cells,’” but agreed that this study “doesn’t
look at talc at all” and “does not say anything about ovarian cancer”).)
227
         (Id. 1373:16-20.)


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when pressed, Dr. Carson quickly conceded that none of the studies he relied on

concluded that the observed inflammation led to neoplastic changes or cancer.228

For example, although Dr. Carson testified on direct examination that the Hamilton

1984 study found that the “inject[ion of] talc into the ovarian bursa of rats . . .

resulted in papillary transformation and the papillae that resulted may represent

early neoplasia,” he was later forced to concede that the authors actually reported

finding no evidence of “frank neoplasia,” or “precancer,” in any exposed rat ovary,

and the “Hamilton study did not conclude that chronic inflammation from talc led

to neoplastic changes or cancer.”229 These concessions are no surprise; as defense

expert Dr. Neel clarified, “[i]nflammation is a broad term,” and studies that report

that talc induced acute local reactions such as granulomas do not show that “talc

cause[s] the kind of inflammation that is associated with cancer or cancer

initiation.”230

         Faced with a lack of evidence supporting their inflammation theory,

plaintiffs and their experts resorted to misrepresenting studies at the hearing. For


228
      (E.g., id. 1383:3-1385:11 (agreeing that Radic 1998 did not study the ovaries
or show neoplastic changes); id. 1389:20-1390:23 (agreeing that Keskin 2009 does
not show that inflammation can lead to neoplastic changes); see also 7/25/19 Hr’g
Tr. 817:20-23 (Dr. McTiernan agreeing that Keskin 2009 found that “there was no
neoplastic change in the rats who had the talc directly placed into their ovaries”).)
229
         (7/29/19 Hr’g Tr. 1298:14-17, 1385:21-1387:17 (emphasis added).)
230
         (7/23/19 Hr’g Tr. 321:22-322:19.)


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example, Dr. Clarke-Pearson heavily relied on the Penninkilampi 2018 meta-

analysis as supposedly supporting the inflammation theory during his direct

examination.231 On cross-examination, however, he was forced to concede that

this study actually stated that the mechanism by which talc use might cause ovarian

cancer is “uncertain” – a conclusion he and plaintiffs’ counsel “left out” of his

direct examination.232 As noted above, this Court and others have recognized that

relying on studies for propositions they do not support is unreliable, see, e.g.,

Schepise, 1997 WL 897676, at *17 (excluding expert who relied on studies that did

not support his opinions), and the fact that plaintiffs’ experts did so here only

underscores the lack of evidence supporting the inflammation theory.

                      (c)   Plaintiffs’ Experts Have No Basis To Link Inflammation
                            To Ovarian Cancer.

         The hearing also revealed that plaintiffs’ experts do not have reliable

evidence linking chronic inflammation to ovarian cancer.

         Dr. Clarke-Pearson agreed that “not all inflammatory conditions lead to

cancer” and that “research regarding whether chronic inflammation can cause



231
         (7/30/19 Hr’g Tr. 1540:5-18.)
232
       (Id. 1635:19-1637:18; see also id. 1640:23-1641:12.) Dr. Clarke-Pearson
also agreed that he failed to cite an additional meta-analysis (Berge 2018), which
similarly states that the mechanism of carcinogenicity is “not understood and
remains questionable.” (Id. 1647:3-1648:20 (Dr. Clarke-Pearson “failed to put
[Berge 2018] in [his] report”).)


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ovarian cancer is ongoing.”233 Although he contended that there is evidence that

ovarian cancer is caused by chronic inflammation, he had to concede that studies

that have directly examined the issue have not confirmed his theory.

         In particular, Dr. Clarke-Pearson conceded that Merritt 2007 – a study that

looked at (1) whether pelvic inflammatory disease (“PID”) is associated with an

increased risk of ovarian cancer and (2) whether the use of anti-inflammatory

drugs is associated with a decreased risk of ovarian cancer – found neither to be the

case, concluding as a result “that chronic inflammation is unlikely to be a cause of

ovarian cancer.”234 Dr. Clarke-Pearson also conceded that Penninkilampi 2018 is

in accord, reporting among other things that “NSAIDs findings have not supported

the chronic inflammation theory.”235

         Defense expert Dr. Saenz confirmed that “the epidemiologic literature on

[whether anti-inflammatory drugs reduce ovarian cancer risk] is very inconsistent,”

and explained that as such, “prescribing NSAIDs as a method to reduce the risk of

ovarian cancer is not something that’s accepted by the gynecologic oncology

233
         (Id. 1648:21-24, 1653:18-23.)
234
         (Id. 1630:21-1635:12.)
235
        (Id. 1641:12-1642:2.) Dr. Clarke-Pearson additionally pointed to
illustrations in several review articles (Balkwill 2001 and Shan & Liu 2009) to
attempt to show how inflammation caused by incessant ovulation leads to ovarian
cancer. (Id. 1567:5-1570:20.) But these review articles did not contain any
original research and expressly labeled the inflammation theory a “hypothes[i]s.”
(Id.; see also id. 1628:5-1630:3.)


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community.”236 She further explained that the relationship between PID and

ovarian cancer is likewise “fairly inconsistent,” with an association reported only

for borderline tumors (which are essentially different diseases than high grade

serous ovarian cancer, and are not the focus of this MDL proceeding).237 Finally,

both Drs. Saenz and Neel explained that the known precursors to ovarian cancer –

STIC lesions and p53 mutations – are not associated with inflammation.238 Dr.

Saenz testified that she has “looked at the tissues that have been stained to identify

cells that contain p53 mutations and cells that have STIC lesions or tubes that have

STIC lesions, and there is no associated inflammation with these tissues, even


236
       (7/31/19 Hr’g Tr. 1821:10-23; see also id. 1934:25-1935:25 (explaining that
a review article shown to her on cross-examination (Savant 2018) “only further
demonstrates the inconsistencies . . . because using low dose aspirin daily
decreased the risk of a woman getting cancer” whereas “non-aspirin NSAIDs
actually increased her risk of getting cancer”).) Dr. Diette similarly testified that
studies examining the effect of anti-inflammatory drugs produced “a mixture of
findings,” including “a positive risk for NSAIDs use, . . . which is inconsistent with
the idea that NSAIDs would be protective against ovarian cancer.” (7/26/19 Hr’g
Tr. 1057:2-9.)
237
      (7/31/19 Hr’g Tr. 1843:5-18; see also id. 1930:24-1931:13 (similar).) Dr.
Saenz further explained that there are no data showing that women with other
known inflammatory conditions, such as ulcerative colitis or Crohn’s disease, have
an increased risk of ovarian cancer. (Id. 1843:19-1844:2.)
238
      (E.g., 7/23/19 Hr’g Tr. 297:15-299:10 (Dr. Neel explaining, inter alia, that
studies have “looked at STICs from normal patients and patients undergoing risk
reduction surgery for BRCA1 and BRCA2 lesions and found no evidence of
increased inflammation”); see also Shih Rep. at 26-27 (Tersigni Cert. Ex. C20)
(study of cells with p53 mutations and STIC lesions “did not observe chronic
inflammation in the p53 signatures and STIC lesions”).)


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though the cancer is already in the process of developing.”239 As Dr. Neel

summarized, this evidence collectively shows that “although several authors have

suggested chronic inflammation might play a role in ovarian cancer, that remains a

hypothesis and basically speculation at this point.”240

         In sum, the hearing made clear that the notion that chronic inflammation

causes ovarian cancer is a hypothesis at best and thus cannot support an opinion on

biological plausibility. See, e.g., In re Accutane Prods. Liab., 511 F. Supp. 2d

1288, 1296 (M.D. Fla. 2007) (rejecting expert’s theory of biological plausibility

because it had “not been verified by testing” or “peer-reviewed” and therefore

amounted to nothing more than “an educated guess”).

IV.      PLAINTIFFS’ EXPERTS’ TESTIMONY MAKES CLEAR THAT
         THEY CONDUCTED SCIENCE FOR THE COURTROOM, NOT
         FOR THE LABORATORY.
         The law is clear that litigation experts must “employ[] in the courtroom the

same level of intellectual rigor that characterizes the practice of an expert in the

relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999).
239
       (7/31/19 Hr’g Tr. 1842:5-15 (emphasis added); see also id. 1944:2-17 (Dr.
Saenz similarly explaining that if ovarian cancer is “in the process of developing
and you are proposing that chronic inflammation is the inciting event, that should
be there, where the precancer is, and it’s not”).) Dr. Saenz further explained that,
having operated on “somewhere between 1,500 [and] 1,800” ovarian cancer
patients, she has only seen evidence that “cancer itself . . . can be inflammatory” –
there has been no “evidence of a chronic inflammatory response that would have
been incited by a foreign body.” (Id. 1838:21-1840:1.)
240
         (See, e.g., 7/23/19 Hr’g Tr. 300:18-23.)


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Accordingly, as explained in detail in defendants’ General Causation Daubert

motion, courts are especially skeptical of experts whose litigation opinions lack

connection to their scientific work or contradict their prior published views.241

Recent caselaw confirms this fundamental point. See, e.g., Davis v. McKesson

Corp., No. CV-18-1157-PHX-DGC, 2019 WL 3532179, at *26 (D. Ariz. Aug. 2,

2019 ) (excluding testimony of expert in part because court identified “stark

inconsistencies” between a speech given by the expert outside litigation and his

expert report that were “very concerning” and “suggest[ed] that he has not

employed the same level of intellectual rigor to his opinions as he does in

practice”).

         Several notable examples illustrate that plaintiffs’ experts are not employing

the same level of rigor in the courtroom that characterizes their activities in the

field. First, Dr. Clarke-Pearson’s opinions in this litigation are at odds with the

advice he has given his patients in over 40 years of practice as a gynecological

oncologist. In fact, during his 40 years of “research,” “teaching” and “practice,”

Dr. Clarke-Pearson has never warned his patients about the alleged dangers of

talc.242 Moreover, he has never recommended increased screening or monitoring


241
         (See GC Mot. at 113-14.)
242
       (See 7/30/19 Hr’g Tr. 1573:10-1574:1 (discussing “40 years” of “research[]
and t[eaching] and practice[]”); id. 1574:2-7 (agreeing he never told a patient
talcum powder caused ovarian cancer); see also id. 1576:22-1577:1 (“Q. Your
                                                                                 (cont’d)


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for ovarian cancer based on a patient’s prior talc use.243 Indeed, the questionnaire

and other forms presented to patients in Dr. Clarke-Pearson’s practice do not ask

gynecologic patients about their history of talc use,244 although he testified that he

plans to update his intake forms to include a question about talc use in the future,

“when we finish getting rid or using up the forms we currently use.”245

         When asked at his deposition whom he has informed of his opinion that talc

is a cause of ovarian cancer (other than plaintiffs’ counsel), Dr. Clarke-Pearson

said he had only communicated it to one “friend” who was a past president of the

Society of Gynecologic Oncology, and that he only did so after preparing his

report for this litigation, although at the hearing, Dr. Clarke-Pearson stated that he

has since additionally informed the CEO of ACOG that he is serving as an expert

________________________
(cont’d from previous page)
patients are moms and sisters and aunts, and you don’t advise them that they
should not be purchasing an over-the-counter product for their family that you
believe causes ovarian cancer. True? A. That’s true.”).)
243
         (Id. 1574:17-21.)
244
        (Id. 1575:10-17 (“THE COURT: I guess the question is, though, any of your
patients that come in put aside whether they have been diagnosed with ovarian
cancer, if they are coming in for appointments of any kind, is there something
that’s used in the questionnaire, do your forms anywhere ask that of any of the
gynecological patients? THE WITNESS: Not at this time.”).) Dr. Clarke-Pearson
testified that until now, the intake forms have not asked patients about their history
of talc use because knowing whether or not a patient used talc previously is “not
going to help [him] take care of that patient that has ovarian cancer,” and he does
not want his patients to feel “guilty” for using talc. (Id. 1575:2-9, 1576:14-21.)
245
         (Id. 1723:15-25.)


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for plaintiffs and believes that ACOG should investigate the connection between

talc and ovarian cancer.246 And when Dr. Clarke-Pearson appeared on Fox News

in 2014, in a segment designed to warn women about ovarian cancer risks, he did

not mention talc use because – as he admitted – he “didn’t believe” at the time that

talc use causes ovarian cancer.247

         Plainly, Dr. Clarke-Pearson does not view talc as a cause of ovarian cancer

outside of the context of this litigation.

         Second, Dr. McTiernan’s testimony underscored that her opinions constitute

advocacy rather than a neutral interpretation of data as an independent scientist.

While plaintiffs touted Dr. McTiernan’s testimony before Congress regarding the

purported connection between talc and ovarian cancer as evidence of her expertise

and supposed leadership on this issue, the circumstances surrounding her testimony

make clear that she was acting as a biased advocate, not an independent scientist.

Specifically, Dr. McTiernan met with plaintiffs’ counsel prior to the hearing,

shared her statement with them prior to the hearing, and even rode to the hearing

with them.248

         Dr. McTiernan’s testimony also established that the opinions she has offered


246
         (Clarke-Pearson Dep. 67:8-68:18; see also 7/30/19 Hr’g Tr. 1723:1-17.)
247
         (7/30/19 Hr’g Tr. 1590:17-1592:12.)
248
         (7/25/19 Hr’g Tr. 927:10-24.)


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here contradict those she has taken outside of litigation. Most notably, while Dr.

McTiernan has denied in this litigation that there is a hierarchy of epidemiological

evidence,249 she admitted that, at the time she was a panelist at the WCRF, the

WCRF issued a publication, which stated that “[t]he hierarchy of epidemiological

evidence places cohort studies above case-control studies,” and that “[b]ecause

case-control studies are particularly prone to recall and other bias, they were not

routinely reviewed.”250 She also admitted that the same report explained that

“[c]ohort studies are likely to be the main source of evidence owing to the long

latent period for cancer to develop and also to their prospective design.”251 Thus, it

is clear that Dr. McTiernan, too, has failed to adhere to the rigors of her field in

developing her opinions and is instead advancing a litigation-driven agenda.

         Third, Dr. Carson’s publicly professed views also differ from those he has

expressed in this litigation. Specifically – and contrary to the central tenet of

toxicology that dose is relevant to toxicity – Dr. Carson repeatedly testified that

“any exposure to a carcinogen increases [the] risk of cancer to some extent.”252


249
        (See, e.g., McTiernan Dep. 116:24-117:5 (Tersigni Cert. Ex. B2); id. 118:
19-24 (“Q. So it is your view that there is no generally accepted hierarchy of
epidemiological evidence? A. I think it depends entirely on what the question
is.”).)
250
         (7/25/19 Hr’g Tr. 869:12-870:5, 871:1-17.)
251
         (Id. 869:12-870:5.)
252
         (7/29/19 Hr’g Tr. 1319:14-16.)


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However, Carson admitted that just a few months ago, he was quoted in the

newspaper stating that the levels of airborne benzene – a Group 1 carcinogen – in

the areas surrounding Deer Park, Texas, did not rise to the levels of a health effect

concern,253 effectively acknowledging the principles of dose that he has ignored

here. This highlights that Dr. Carson is taking a different approach to the issue of

dose in the courtroom than in his publicly expressed scientific views.

         For these reasons, too, plaintiffs’ experts’ testimony must be excluded.

                                    CONCLUSION
         For the foregoing reasons, the Court should exclude plaintiffs’ experts’

general causation testimony.

Dated: October 7, 2019                    Respectfully submitted,

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253
         (Id. 1319:21-1320:1, 1320:15-23.)


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